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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                     Case No.: 0:24-CV-60382

  JESSICA PIAFSKY, an individual,

         Plaintiff,
  v.

  MB HOME IMPROVEMENTS INC. a Florida
  corporation, MAXIM BOHADANA, an individual,
  ROI NEEMAN, an individual and
  CONSTRUCTION FORT LAUDERDALE INC.
  d/b/a MB HOME IMPROVEMENTS, a Florida
  corporation,

        Defendants.
  ___________________________________ /

                         DEFENDANTS’ RESPONSE TO PLAINTIFFS
                      MOTION TO COMPEL RESPONSES TO DISCOVERY

         COMES NOW, Defendants, MB Home Improvements Inc., and Maxim Bohadana, by and

  through their undersigned counsel and hereby provide their Response to Plaintiff's Motion To

  Compel Responses To Discovery.

         January 29, 2025, Defendant's prior counsel, Justin M. Tolley, filed a Motion to Withdraw

  as Attorney for Defendants. (Doc. 63.) On January 30, 2025, Plaintiff filed Plaintiff’s Motion to

  Compel Responses to Discovery (“Motion”) seeking responses to Plaintiff’s outstanding discovery

  requests. (Doc. 65.) January 31, 2025, the court set a Discovery Hearing on March 4, 2025, at 2:00

  p.m. (Doc. 67.) February 1, 2025, prior counsel for Defendants renewed his Motion to Withdraw

  as Attorney for Defendants. (Doc. 68.) Prior counsel’s Motion to Withdraw as Attorney was

  granted February 5, 2025. (Doc. 69.) The undersigned entered his appearance on behalf of

  Defendants February 14, 2025. (Doc. 72.) February 19, 2025, the Court entered a Paperless Order

  directing Defendants to file a Response to the Motion by February 24, 2025. (Doc. 74.)
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         Counsel for Defendants contacted Plaintff’s counsel immediately upon filing his

  appearance to express willingness to work diligently to respond to Plaintiff’s pending discovery

  requests in a timely manner. To that end, simultaneously with the filing of this response defendants

  are producing responsive documents. Those documents include a copy of its insurance policy, a

  copy of the franchise agreement Defendant Bohadana signed with Co-defendant Neeman,

  correspondence from the mediator, and a copy of the original construction Permit. Counsel for the

  Defendants will meet with Mr. Bohadana to work diligently to identify and produce additional

  documents responsive to the Plaintiff’s requests.

  Date: February 24, 2025,                      Respectfully submitted,

                                        By:     Andrew W. Bray
                                                Andrew W. Bray, Esq. (Fla. Bar No. 0752401)
                                                Brian P. Henry, Esq. (Fla. Bar No. 0089069)
                                                ROLFES HENRY CO., LPA
                                                110 SE 6th Street, Suite 1920
                                                Fort Lauderdale, Florida 33301
                                                T: (954) 530-5601
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                                                E: kacuna@rolfeshenry.com
                                                E: bhenry@rolfehenry.com

                                                Attorneys for Defendants




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and accurate copy of the foregoing has been served via

  e-mail on counsel for all parties at the email addresses below or has been served by automatic

  service by the Court’s e-filing system, on February 24, 2025.

  Daniel W. Berenthal, Esq.
  Berenthal & Associates, P.A.
  255 Alhambra Circle, Suite 1150
  Coral Gables, FL 33134
  E: dwb@berenthalaw.com

  Attorney for Plaintiff

                                               /s/ Andrew W. Bray
                                               Andrew W. Bray, Esq. (Fla. Bar No. 752401)




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                     EXHIBIT A
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                                                                   MB-MAXIM000001
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Next Insurance US Company



                                          SIGNATURE PAGE

        In Witness Whereof, we have caused this policy to be executed and attested, and, if required by state law,
        this policy shall not be valid unless countersigned by our authorized representative.




                ______________________                                           ____________________
                       (signature)                                               (signature)
                       Secretary                                                  President




        NXT-0001 IL FL 06 21                                                                          Page 1 of 1

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                                      NEXT INSURANCE US COMPANY
                                              (a stock insurance company)
                                                251 Little Falls Drive
                                                Wilmington, DE 19808
                                                   (855) 222-5919




                                       COMMON POLICY DECLARATIONS

   POLICY NUMBER: NXTDYLYD4V-01-GL
   Named Insured and Mailing Address:maxim bohadana
                                           MB HOME IMPROVEMENTS INC
                                           6412 N University Dr Ste 102
                                           Tamarac, FL 33321




   Policy Period:   From: 11/19/2022                              To: 11/19/2023
                                at 12:01 a.m.       standard time at the mailing address shown above


   DESCRIPTION OF BUSINESS: General Contractor

   IN RETURN FOR THE PAYMENT OF PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE
   AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

        THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS
                    INDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.

                                                                                                       PREMIUM
   BOILER AND MACHINERY COVERAGE PART                                                          $
   COMMERCIAL AUTOMOBILE COVERAGE PART                                                         $
   COMMERCIAL CRIME COVERAGE PART                                                              $
   COMMERCIAL GENERAL LIABILITY COVERAGE PART                                                  $ 1,420.87
   COMMERCIAL INLAND MARINE COVERAGE PART                                                      $
   COMMERCIAL PROPERTY COVERAGE PART                                                           $
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART                                        $
   FARM COVERAGE PART                                                                          $
   LIQUOR LIABILITY COVERAGE PART                                                              $
   POLLUTION LIABILITY COVERAGE PART                                                           $
   PROFESSIONAL LIABILITY COVERAGE PART                                                        $
   COMMERCIAL UMBRELLA/ EXCESS COVERAGE PART                                                   $
   PRIVACY AND NETWORK LIABILITY COVERAGE PART                                                 $

                                                                                    TOTAL:     $ 1,420.87
   Premium shown is payable: $                 at inception.

    These Declarations, together with the Common Policy Conditions, and the Coverage Form(s) and
    endorsement(s), complete the above numbered policy.
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                                                                                                 MB-MAXIM000003
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          SCHEDULE OF POLICY FORMS AND ENDORSEMENTS



  Listed below are the forms and endorsements attached to this policy at the time of issue:

  Title                                                                           Form Number and Edition Date
  Signature Page                                                                  NXT-0001 IL FL 06 21
  Common Policy Declarations                                                      NXUS-GL-0003.2-0322
  Common Policy Conditions                                                        IL 00 17 11 98
  Nuclear Energy Liability Exclusion Endorsement (Broad Form)                     IL 00 21 09 08
  Florida Changes - Cancellation and Nonrenewal                                   CG 02 20 03 12
  Florida Company Contact Information                                             NXUS-A01-FL-0621
  Calculation of Premium                                                          NXT-0006 IL 0920




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                                                                                                  MB-MAXIM000004
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                                                                                                    IL 00 17 11 98


                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                     b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                     and
       tions may cancel this policy by mailing or de-               c. Recommend changes.
       livering to us advance written notice of cancel-         2. We are not obligated to make any inspections,
       lation.                                                      surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                such actions we do undertake relate only to in-
       ering to the first Named Insured written notice              surability and the premiums to be charged. We
       of cancellation at least:                                    do not make safety inspections. We do not un-
       a. 10 days before the effective date of cancel-              dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-               organization to provide for the health or safety
           mium; or                                                 of workers or the public. And we do not warrant
                                                                    that conditions:
       b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first               b. Comply with laws, regulations, codes or
       Named Insured's last mailing address known to                    standards.
       us.                                                      3. Paragraphs 1. and 2. of this condition apply
   4. Notice of cancellation will state the effective               not only to us, but also to any rating, advisory,
       date of cancellation. The policy period will end             rate service or similar organization which
       on that date.                                                makes insurance inspections, surveys, reports
                                                                    or recommendations.
   5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we              4. Paragraph 2. of this condition does not apply
       cancel, the refund will be pro rata. If the first            to any inspections, surveys, reports or recom-
       Named Insured cancels, the refund may be                     mendations we may make relative to certifica-
       less than pro rata. The cancellation will be ef-             tion, under state or municipal statutes, ordi-
       fective even if we have not made or offered a                nances or regulations, of boilers, pressure ves-
       refund.                                                      sels or elevators.
   6. If notice is mailed, proof of mailing will be suf-     E. Premiums
       ficient proof of notice.                                 The first Named Insured shown in the Declara-
B. Changes                                                      tions:
   This policy contains all the agreements between              1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                    and
   The first Named Insured shown in the Declara-                2. Will be the payee for any return premiums we
   tions is authorized to make changes in the terms                 pay.
   of this policy with our consent. This policy's terms      F. Transfer Of Your Rights And Duties Under
   can be amended or waived only by endorsement                 This Policy
   issued by us and made a part of this policy.
                                                                Your rights and duties under this policy may not
C. Examination Of Your Books And Records                        be transferred without our written consent except
   We may examine and audit your books and rec-                 in the case of death of an individual named in-
   ords as they relate to this policy at any time during        sured.
   the policy period and up to three years afterward.           If you die, your rights and duties will be trans-
D. Inspections And Surveys                                      ferred to your legal representative but only while
   1. We have the right to:                                     acting within the scope of duties as your legal rep-
                                                                resentative. Until your legal representative is ap-
       a. Make inspections and surveys at any time;             pointed, anyone having proper temporary custody
                                                                of your property will have your rights and duties
                                                                but only with respect to that property.




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                                                                                                  IL 00 21 09 08

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                 (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                             C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"          or "property damage" resulting from "hazard-
      or "property damage":                                     ous properties" of "nuclear material", if:
     (1) With respect to which an "insured" under              (1) The "nuclear material" (a) is at any "nuclear
         the policy is also an insured under a nu-                 facility" owned by, or operated by or on be-
         clear energy liability policy issued by Nu-               half of, an "insured" or (b) has been dis-
         clear Energy Liability Insurance Associa-                 charged or dispersed therefrom;
         tion, Mutual Atomic Energy Liability                  (2) The "nuclear material" is contained in
         Underwriters, Nuclear Insurance Associa-                  "spent fuel" or "waste" at any time pos-
         tion of Canada or any of their successors,                sessed, handled, used, processed, stored,
         or would be an insured under any such pol-                transported or disposed of, by or on behalf
         icy but for its termination upon exhaustion               of an "insured"; or
         of its limit of liability; or                         (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                 arises out of the furnishing by an "insured"
         of "nuclear material" and with respect to                 of services, materials, parts or equipment in
         which (a) any person or organization is re-               connection with the planning, construction,
         quired to maintain financial protection pur-              maintenance, operation or use of any "nu-
         suant to the Atomic Energy Act of 1954, or                clear facility", but if such facility is located
         any law amendatory thereof, or (b) the "in-               within the United States of America, its terri-
         sured" is, or had this policy not been issued             tories or possessions or Canada, this ex-
         would be, entitled to indemnity from the                  clusion (3) applies only to "property dam-
         United States of America, or any agency                   age" to such "nuclear facility" and any
         thereof, under any agreement entered into                 property thereat.
         by the United States of America, or any          2. As used in this endorsement:
         agency thereof, with any person or organi-
         zation.                                             "Hazardous properties" includes radioactive, toxic
                                                             or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-          "Nuclear material" means "source material", "spe-
      jury" resulting from the "hazardous properties"        cial nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.




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   "Source material", "special nuclear material", and             (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                      essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                    nuclear material" if at any time the total
   law amendatory thereof.                                            amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                   the "insured" at the premises where such
   ponent, solid or liquid, which has been used or ex-                equipment or device is located consists of
   posed to radiation in a "nuclear reactor".                         or contains more than 25 grams of pluto-
                                                                      nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                    thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                   235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed              (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)               or place prepared or used for the storage or
   resulting from the operation by any person or or-                  disposal of "waste";
   ganization of any "nuclear facility" included under         and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nu-          is located, all operations conducted on such site
   clear facility".                                            and all premises used for such operations.
   "Nuclear facility" means:                                   "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                               or used to sustain nuclear fission in a self-
                                                               supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used             mass of fissionable material.
           for (1) separating the isotopes of uranium or
           plutonium, (2) processing or utilizing "spent       "Property damage" includes all forms of radioac-
           fuel", or (3) handling, processing or packag-       tive contamination of property.
           ing "waste";




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 02 20 03 12

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          FLORIDA CHANGES –
                     CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraph 2. of the Cancellation Common Policy                  (2) The policy was obtained by a material
   Condition is replaced by the following:                               misstatement;
   2. Cancellation Of Policies In Effect                           (3) Failure to comply with underwriting
      a. For 90 Days Or Less                                             requirements established by the insurer
                                                                         within 90 days of the effective date of
          If this policy has been in effect for 90 days                  coverage;
          or less, we may cancel this policy by
          mailing or delivering to the first Named                 (4) A substantial change in the risk covered
          Insured written notice of cancellation,                        by the policy; or
          accompanied        by   the    reasons     for           (5) The cancellation is for all insureds under
          cancellation, at least:                                        such policies for a given class of
         (1) 10 days before the effective date of                        insureds.
             cancellation     if  we     cancel  for                 If we cancel this policy for any of these
             nonpayment of premium; or                               reasons, we will mail or deliver to the first
         (2) 20 days before the effective date of                    Named       Insured     written  notice    of
             cancellation if we cancel for any other                 cancellation, accompanied by the reasons
             reason, except we may cancel                            for cancellation, at least:
             immediately if there has been:                             (a) 10 days before the effective date of
            (a) A     material     misstatement   or                         cancellation if we cancel for
                misrepresentation; or                                        nonpayment of premium; or
             (b) A failure to comply with the                           (b) 45 days before the effective date of
                  underwriting            requirements                       cancellation if we cancel for any of
                  established by the insurer.                                the other reasons stated in
                                                                             Paragraph 2.b.
       b. For More Than 90 Days
                                                           B. Paragraph 3. of the Cancellation Common Policy
          If this policy has been in effect for more          Condition is replaced by the following:
          than 90 days, we may cancel this policy
          only for one or more of the following               3. We will mail or deliver our notice to the first
          reasons:                                               Named Insured at the last mailing address
                                                                 known to us.
         (1) Nonpayment of premium;




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C. Paragraph 5. of the Cancellation Common Policy                 The cancellation will be effective even if we
   Condition is replaced by the following:                        have not made or offered a refund.
   5. If this policy is cancelled, we will send the first   D. The following is added and supersedes any other
      Named Insured any premium refund due. If we              provision to the contrary:
      cancel, the refund will be pro rata. If the first         Nonrenewal
      Named Insured cancels, the refund may be
      less than pro rata. If the return premium is not          1. If we decide not to renew this policy, we will
      refunded with the notice of cancellation or                  mail or deliver to the first Named Insured
      when this policy is returned to us, we will mail             written notice of nonrenewal, accompanied by
      the refund within 15 working days after the                  the reason for nonrenewal, at least 45 days
      date cancellation takes effect, unless this is an            prior to the expiration of this policy.
      audit policy.                                             2. Any notice of nonrenewal will be mailed or
      If this is an audit policy, then, subject to your            delivered to the first Named Insured at the last
      full cooperation with us or our agent in securing            mailing address known to us. If notice is
      the necessary data for audit, we will return any             mailed, proof of mailing will be sufficient proof
      premium refund due within 90 days of the date                of notice.
      cancellation takes effect. If our audit is not
      completed within this time limitation, then we
      shall accept your own audit, and any premium
      refund due shall be mailed within 10 working
      days of receipt of your audit.




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                                                                                                   CG 02 20 03 12
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   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                FLORIDA COMPANY CONTACT INFORMATION
   This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE FORM

   The following is added to the Coverage Form:

   Company Contact Information

   Answers to questions about your insurance, coverage information, or assistance in resolving complaints
   can be obtained by calling us at 1-855-222-5919.




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                                                                                          MB-MAXIM000010
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                                                                                                 NXT-0006 IL 0920

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            CALCULATION OF PREMIUM
This endorsement modifies insurance provided under all Coverage Parts included in this policy.

The following is added:
The premium shown in the Declarations was computed based on rates in effect at the time the policy
was bound. On each renewal, continuation, or anniversary of the effective date of this policy, we will
compute the premium in accordance with our rates and rules then in effect.




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                                      NEXT INSURANCE US COMPANY
                                              (a stock insurance company)



                                                251 Little Falls Drive
                                                Wilmington, DE 19808
                                                    (855)222-5919




                    COMMERCIAL GENERAL LIABILITY DECLARATIONS - FLORIDA

      CERTAIN COVERAGES IN THE POLICY MAY BE WRITTEN ON A CLAIMS-MADE BASIS.
                      PLEASE READ YOUR POLICY CAREFULLY.

                                             MINIMUM PREMIUM POLICY
      POLICY NUMBER:NXTDYLYD4V-01-GL
      Named Insured and Mailing Address: maxim bohadana
                                                 MB HOME IMPROVEMENTS INC
                                                 6412 N University Dr Ste 102
                                                 Tamarac, FL 33321




      Policy Period:   From: 11/19/2022                 To: 11/19/2023
                              at 12:01am          standard time at the mailing address shown above


                                             DESCRIPTION OF BUSINESS
      Insured is:

              Individual / Sole Proprietor                                        Partnership/Joint Venture

              Limited Liability Company                                           Trust

      x       Other - Corporation


      Business of Insured:                                                 General Contractor



      Countersigned: 11/19/2022                                      By:
                             (Date)                                              (Authorized Representative)




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                                              LIMITS OF INSURANCE
        Each Occurrence Limit                                               $1,000,000.00
           Damages to Premises Rented to You Limit                          $100,000.00         Any one premises
           Medical Expense Limit                                            $15,000.00          Any one person
        Personal & Advertising Injury Limit                                $1,000,000.00        Any one person or
                                                                           organization
      General Aggregate Limit                                               $2,000,000.00
      Products/Completed Operations Aggregate Limit                          $2,000,000.00




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                               CLASSIFICATION AND PREMIUM
    LOCATION CLASSIFICATION CODE    PREMIUM            RATE       ADVANCE PREMIUM
     NUMBER                   NO.      BASE
                                                  Prem/     Prod/  Prem/    Prod/
                                                   Ops   Comp Ops   Ops   Comp Ops
               91583                       SUBCOST               $633.13       $746.08
               91585                       SUBCOST               $6.26         $7.54




                                                 State Tax Or Other (if applicable)             $27.87
                                          TOTAL PREMIUM (SUBJECT TO AUDIT)                      $1,420.87

                                            At Inception                                        $
     PREMIUM SHOWN IS PAYABLE:
                                            At Each Anniversary                                 $
                                            (If policy period is more than one year and premium is paid in
                                            annual installments)
                                        AUDIT PERIOD (IF APPLICABLE)
     X           Annually                 Semi-Annually                    Quarterly            Monthly




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                                                                                                    MB-MAXIM000014
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            SCHEDULE OF POLICY FORMS AND ENDORSEMENTS
    These Declarations, together with the Common Policy Conditions, and the Coverage Form(s) and
    endorsement(s), complete the above numbered policy.

    Listed below are the forms and endorsements attached to this policy at the time of issue:


    Title                                                                           Form Number and Edition Date
 Commercial General Liability Declarations - Florida                                NXUS-GL-0001.1-FL-0721
 GL Table of Contents                                                               NXUS-TOC-GL-FL-0621
 Commercial General Liability Coverage Form                                         CG 00 01 04 13
 Additional Insured - Owners, Lessees Or Contractors - Automatic Status When        CG 20 33 12 19
 Required In Construction Agreement With You
 Exclusion - Access Or Disclosure Of Confidential Or Personal Information And       CG 21 06 05 14
 Data-Related Liability - With Limited Bodily Injury Exception
 Communicable Disease Exclusion                                                     CG 21 32 05 09
 Employment-Related Practices Exclusion                                             CG 21 47 12 07
 Total Pollution Exclusion Endorsement                                              CG 21 49 09 99
 Exclusion - Designated Ongoing Operations (WITH SCHEDULE)                          CG 21 53 01 96
 Exclusion - Designated Operations Covered by a Controlled (Wrap-Up)                CG 21 54 12 19
 Insurance Program
 Fungi Or Bacteria Exclusion                                                        CG 21 67 12 04
 Exclusion Of Certified Acts Of Terrorism                                           CG 21 73 01 15
 Exclusion - Exterior Insulation And Finish Systems                                 CG 21 86 12 04
 Silica Or Silica-Related Dust Exclusion                                            CG 21 96 03 05
 Exclusion - Engineers, Architects Or Surveyors Professional Liability              CG 22 43 04 13
 Exclusion - Damage To Work Performed By Subcontractors On Your Behalf              CG 22 94 10 01
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                                    COMMERCIAL GENERAL LIABILITY COVERAGE FORM

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                                                                           COMMERCIAL GENERAL LIABILITY
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   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.             (2) The "bodily injury" or "property damage"
Read the entire policy carefully to determine rights,                occurs during the policy period; and
duties and what is and is not covered.                           (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your"                    under Paragraph 1. of Section II – Who Is
refer to the Named Insured shown in the Declarations,                An Insured and no "employee" authorized
and any other person or organization qualifying as a                 by you to give or receive notice of an
Named Insured under this policy. The words "we",                     "occurrence" or claim, knew that the "bodily
"us" and "our" refer to the company providing this                   injury" or "property damage" had occurred,
insurance.                                                           in whole or in part. If such a listed insured
The word "insured" means any person or organization                  or authorized "employee" knew, prior to the
qualifying as such under Section II – Who Is An                      policy period, that the "bodily injury" or
Insured.                                                             "property damage" occurred, then any
                                                                     continuation, change or resumption of such
Other words and phrases that appear in quotation                     "bodily injury" or "property damage" during
marks have special meaning. Refer to Section V –                     or after the policy period will be deemed to
Definitions.                                                         have been known prior to the policy period.
SECTION I – COVERAGES                                         c. "Bodily injury" or "property damage" which
COVERAGE A – BODILY INJURY AND PROPERTY                          occurs during the policy period and was not,
DAMAGE LIABILITY                                                 prior to the policy period, known to have
1. Insuring Agreement                                            occurred by any insured listed under
                                                                 Paragraph 1. of Section II – Who Is An Insured
   a. We will pay those sums that the insured                    or any "employee" authorized by you to give or
      becomes legally obligated to pay as damages                receive notice of an "occurrence" or claim,
      because of "bodily injury" or "property damage"            includes any continuation, change or
      to which this insurance applies. We will have              resumption of that "bodily injury" or "property
      the right and duty to defend the insured against           damage" after the end of the policy period.
      any "suit" seeking those damages. However,
      we will have no duty to defend the insured              d. "Bodily injury" or "property damage" will be
      against any "suit" seeking damages for "bodily             deemed to have been known to have occurred
      injury" or "property damage" to which this                 at the earliest time when any insured listed
      insurance does not apply. We may, at our                   under Paragraph 1. of Section II – Who Is An
      discretion, investigate any "occurrence" and               Insured or any "employee" authorized by you to
      settle any claim or "suit" that may result. But:           give or receive notice of an "occurrence" or
                                                                 claim:
      (1) The amount we will pay for damages is
                                                                 (1) Reports all, or any part, of the "bodily injury"
          limited as described in Section III – Limits
                                                                     or "property damage" to us or any other
          Of Insurance; and
                                                                     insurer;
      (2) Our right and duty to defend ends when we
                                                                 (2) Receives a written or verbal demand or
          have used up the applicable limit of
                                                                     claim for damages because of the "bodily
          insurance in the payment of judgments or
                                                                     injury" or "property damage"; or
          settlements under Coverages A or B or
          medical expenses under Coverage C.                     (3) Becomes aware by any other means that
                                                                     "bodily injury" or "property damage" has
      No other obligation or liability to pay sums or
                                                                     occurred or has begun to occur.
      perform acts or services is covered unless
      explicitly provided for under Supplementary             e. Damages because of "bodily injury" include
      Payments – Coverages A and B.                              damages claimed by any person or
                                                                 organization for care, loss of services or death
   b. This insurance applies to "bodily injury" and
                                                                 resulting at any time from the "bodily injury".
      "property damage" only if:
     (1) The "bodily injury" or "property damage" is
         caused by an "occurrence" that takes place
         in the "coverage territory";




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2. Exclusions                                                     This exclusion applies even if the claims
   This insurance does not apply to:                              against any insured allege negligence or other
                                                                  wrongdoing in:
   a. Expected Or Intended Injury
                                                                     (a) The supervision, hiring, employment,
      "Bodily injury" or "property damage" expected                       training or monitoring of others by that
      or intended from the standpoint of the insured.                     insured; or
      This exclusion does not apply to "bodily injury"
      resulting from the use of reasonable force to                  (b) Providing       or    failing  to    provide
      protect persons or property.                                        transportation with respect to any
                                                                          person that may be under the influence
   b. Contractual Liability                                               of alcohol;
      "Bodily injury" or "property damage" for which              if the "occurrence" which caused the "bodily
      the insured is obligated to pay damages by                  injury" or "property damage", involved that
      reason of the assumption of liability in a                  which is described in Paragraph (1), (2) or (3)
      contract or agreement. This exclusion does not              above.
      apply to liability for damages:
                                                                  However, this exclusion applies only if you are
     (1) That the insured would have in the absence               in the business of manufacturing, distributing,
          of the contract or agreement; or                        selling, serving or furnishing alcoholic
     (2) Assumed in a contract or agreement that is               beverages. For the purposes of this exclusion,
         an "insured contract", provided the "bodily              permitting a person to bring alcoholic
         injury" or "property damage" occurs                      beverages on your premises, for consumption
         subsequent to the execution of the contract              on your premises, whether or not a fee is
         or agreement. Solely for the purposes of                 charged or a license is required for such
         liability assumed in an "insured contract",              activity, is not by itself considered the business
         reasonable attorneys' fees and necessary                 of selling, serving or furnishing alcoholic
         litigation expenses incurred by or for a party           beverages.
         other than an insured are deemed to be                d. Workers' Compensation And Similar Laws
         damages because of "bodily injury" or
         "property damage", provided:                             Any obligation of the insured under a workers'
                                                                  compensation,          disability    benefits    or
        (a) Liability to such party for, or for the cost          unemployment compensation law or any
              of, that party's defense has also been              similar law.
              assumed in the same "insured contract";
              and                                              e. Employer's Liability
        (b) Such attorneys' fees and litigation                   "Bodily injury" to:
              expenses are for defense of that party             (1) An "employee" of the insured arising out of
              against a civil or alternative dispute                  and in the course of:
              resolution proceeding in which damages                 (a) Employment by the insured; or
              to which this insurance applies are
              alleged.                                               (b) Performing duties related to the conduct
                                                                         of the insured's business; or
   c. Liquor Liability
                                                                  (2) The spouse, child, parent, brother or sister
      "Bodily injury" or "property damage" for which                  of that "employee" as a consequence of
      any insured may be held liable by reason of:                    Paragraph (1) above.
     (1) Causing or contributing to the intoxication of            This exclusion applies whether the insured
         any person;                                               may be liable as an employer or in any other
     (2) The furnishing of alcoholic beverages to a                capacity and to any obligation to share
         person under the legal drinking age or                    damages with or repay someone else who
         under the influence of alcohol; or                        must pay damages because of the injury.
     (3) Any statute, ordinance or regulation relating             This exclusion does not apply to liability
         to the sale, gift, distribution or use of                 assumed by the insured under an "insured
         alcoholic beverages.                                      contract".




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   f. Pollution                                                    (d) At or from any premises, site or location
     (1) "Bodily injury" or "property damage" arising                  on which any insured or any contractors
         out of the actual, alleged or threatened                      or subcontractors working directly or
         discharge, dispersal, seepage, migration,                     indirectly on any insured's behalf are
         release or escape of "pollutants":                            performing operations if the "pollutants"
                                                                       are brought on or to the premises, site
        (a) At or from any premises, site or location                  or location in connection with such
            which is or was at any time owned or                       operations by such insured, contractor
            occupied by, or rented or loaned to, any                   or    subcontractor.   However,      this
            insured. However, this subparagraph                        subparagraph does not apply to:
            does not apply to:
                                                                        (i) "Bodily injury" or "property damage"
            (i) "Bodily injury" if sustained within a                       arising out of the escape of fuels,
                building and caused by smoke,                               lubricants or other operating fluids
                fumes, vapor or soot produced by or                         which are needed to perform the
                originating from equipment that is                          normal electrical, hydraulic or
                used to heat, cool or dehumidify the                        mechanical functions necessary for
                building, or equipment that is used to                      the operation of "mobile equipment"
                heat water for personal use, by the                         or its parts, if such fuels, lubricants
                building's occupants or their guests;                       or other operating fluids escape from
           (ii) "Bodily injury" or "property damage"                        a vehicle part designed to hold, store
                for which you may be held liable, if                        or receive them. This exception does
                you are a contractor and the owner                          not apply if the "bodily injury" or
                or lessee of such premises, site or                         "property damage" arises out of the
                location has been added to your                             intentional discharge, dispersal or
                policy as an additional insured with                        release of the fuels, lubricants or
                respect to your ongoing operations                          other operating fluids, or if such
                performed for that additional insured                       fuels, lubricants or other operating
                at that premises, site or location and                      fluids are brought on or to the
                such premises, site or location is not                      premises, site or location with the
                and never was owned or occupied                             intent that they be discharged,
                by, or rented or loaned to, any                             dispersed or released as part of the
                insured, other than that additional                         operations being performed by such
                insured; or                                                 insured, contractor or subcontractor;
           (iii) "Bodily injury" or "property damage"                  (ii) "Bodily injury" or "property damage"
                 arising out of heat, smoke or fumes                        sustained within a building and
                 from a "hostile fire";                                     caused by the release of gases,
        (b) At or from any premises, site or location                       fumes or vapors from materials
             which is or was at any time used by or                         brought into that building in
             for any insured or others for the                              connection with operations being
             handling, storage, disposal, processing                        performed by you or on your behalf
             or treatment of waste;                                         by a contractor or subcontractor; or
        (c) Which are or were at any time                             (iii) "Bodily injury" or "property damage"
            transported, handled, stored, treated,                          arising out of heat, smoke or fumes
            disposed of, or processed as waste by                           from a "hostile fire".
            or for:                                                (e) At or from any premises, site or location
            (i) Any insured; or                                         on which any insured or any contractors
                                                                        or subcontractors working directly or
           (ii) Any person or organization for whom                     indirectly on any insured's behalf are
                you may be legally responsible; or                      performing operations if the operations
                                                                        are to test for, monitor, clean up,
                                                                        remove, contain, treat, detoxify or
                                                                        neutralize, or in any way respond to, or
                                                                        assess the effects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
         any:                                                          out of:
        (a) Request, demand, order or statutory or                    (a) The operation of machinery or
            regulatory requirement that any insured                       equipment that is attached to, or part of,
            or others test for, monitor, clean up,                        a land vehicle that would qualify under
            remove, contain, treat, detoxify or                           the definition of "mobile equipment" if it
            neutralize, or in any way respond to, or                      were not subject to a compulsory or
            assess the effects of, "pollutants"; or                       financial responsibility law or other
        (b) Claim or suit by or on behalf of a                            motor vehicle insurance law where it is
            governmental authority for damages                            licensed or principally garaged; or
            because of testing for, monitoring,                       (b) The operation of any of the machinery
            cleaning up, removing, containing,                            or equipment listed in Paragraph f.(2) or
            treating, detoxifying or neutralizing, or in                  f.(3) of the definition of "mobile
            any way responding to, or assessing the                       equipment".
            effects of, "pollutants".                          h. Mobile Equipment
         However, this paragraph does not apply to                "Bodily injury" or "property damage" arising out
         liability for damages because of "property               of:
         damage" that the insured would have in the
         absence of such request, demand, order or                (1) The transportation of "mobile equipment" by
         statutory or regulatory requirement, or such                 an "auto" owned or operated by or rented or
         claim or "suit" by or on behalf of a                         loaned to any insured; or
         governmental authority.                                  (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                    in practice for, or while being prepared for,
                                                                      any prearranged racing, speed, demolition,
      "Bodily injury" or "property damage" arising out                or stunting activity.
      of the ownership, maintenance, use or
      entrustment to others of any aircraft, "auto" or          i. War
      watercraft owned or operated by or rented or                 "Bodily injury" or "property damage", however
      loaned to any insured. Use includes operation                caused, arising, directly or indirectly, out of:
      and "loading or unloading".
                                                                  (1) War, including undeclared or civil war;
      This exclusion applies even if the claims
                                                                  (2) Warlike action by a military force, including
      against any insured allege negligence or other
                                                                      action in hindering or defending against an
      wrongdoing in the supervision, hiring,
                                                                      actual or expected attack, by any
      employment, training or monitoring of others by                 government, sovereign or other authority
      that insured, if the "occurrence" which caused                  using military personnel or other agents; or
      the "bodily injury" or "property damage"
      involved the ownership, maintenance, use or                 (3) Insurrection, rebellion, revolution, usurped
      entrustment to others of any aircraft, "auto" or                power, or action taken by governmental
      watercraft that is owned or operated by or                      authority in hindering or defending against
      rented or loaned to any insured.                                any of these.
      This exclusion does not apply to:                         j. Damage To Property
     (1) A watercraft while ashore on premises you                 "Property damage" to:
         own or rent;                                             (1) Property you own, rent, or occupy, including
     (2) A watercraft you do not own that is:                         any costs or expenses incurred by you, or
                                                                      any other person, organization or entity, for
        (a) Less than 26 feet long; and                               repair,     replacement,       enhancement,
        (b) Not being used to carry persons or                        restoration or maintenance of such property
             property for a charge;                                   for any reason, including prevention of
     (3) Parking an "auto" on, or on the ways next                    injury to a person or damage to another's
         to, premises you own or rent, provided the                   property;
         "auto" is not owned by or rented or loaned               (2) Premises you sell, give away or abandon, if
         to you or the insured;                                       the "property damage" arises out of any
     (4) Liability assumed under any "insured                         part of those premises;
         contract" for the ownership, maintenance or              (3) Property loaned to you;
         use of aircraft or watercraft; or




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     (4) Personal property in the care, custody or                 This exclusion does not apply to the loss of use
         control of the insured;                                   of other property arising out of sudden and
     (5) That particular part of real property on                  accidental physical injury to "your product" or
         which you or any contractors or                           "your work" after it has been put to its intended
         subcontractors working directly or indirectly             use.
         on your behalf are performing operations, if           n. Recall Of Products, Work Or Impaired
         the "property damage" arises out of those                 Property
         operations; or                                            Damages claimed for any loss, cost or
     (6) That particular part of any property that                 expense incurred by you or others for the loss
         must be restored, repaired or replaced                    of use, withdrawal, recall, inspection, repair,
         because "your work" was incorrectly                       replacement, adjustment, removal or disposal
         performed on it.                                          of:
      Paragraphs (1), (3) and (4) of this exclusion do            (1) "Your product";
      not apply to "property damage" (other than                  (2) "Your work"; or
      damage by fire) to premises, including the
      contents of such premises, rented to you for a              (3) "Impaired property";
      period of seven or fewer consecutive days. A                 if such product, work, or property is withdrawn
      separate limit of insurance applies to Damage                or recalled from the market or from use by any
      To Premises Rented To You as described in                    person or organization because of a known or
      Section III – Limits Of Insurance.                           suspected defect, deficiency, inadequacy or
      Paragraph (2) of this exclusion does not apply               dangerous condition in it.
      if the premises are "your work" and were never            o. Personal And Advertising Injury
      occupied, rented or held for rental by you.
                                                                   "Bodily injury" arising out of "personal and
      Paragraphs (3), (4), (5) and (6) of this                     advertising injury".
      exclusion do not apply to liability assumed
                                                                p. Electronic Data
      under a sidetrack agreement.
                                                                   Damages arising out of the loss of, loss of use
      Paragraph (6) of this exclusion does not apply
                                                                   of, damage to, corruption of, inability to access,
      to "property damage" included in the "products-
                                                                   or inability to manipulate electronic data.
      completed operations hazard".
                                                                   However, this exclusion does not apply to
  k. Damage To Your Product
                                                                   liability for damages because of "bodily injury".
      "Property damage" to "your product" arising out
                                                                   As used in this exclusion, electronic data
      of it or any part of it.
                                                                   means information, facts or programs stored as
   l. Damage To Your Work                                          or on, created or used on, or transmitted to or
      "Property damage" to "your work" arising out of              from computer software, including systems and
      it or any part of it and included in the "products-          applications software, hard or floppy disks, CD-
      completed operations hazard".                                ROMs, tapes, drives, cells, data processing
                                                                   devices or any other media which are used
      This exclusion does not apply if the damaged                 with electronically controlled equipment.
      work or the work out of which the damage
      arises was performed on your behalf by a                  q. Recording And Distribution Of Material Or
      subcontractor.                                               Information In Violation Of Law
  m. Damage To Impaired Property Or Property                       "Bodily injury" or "property damage" arising
      Not Physically Injured                                       directly or indirectly out of any action or
                                                                   omission that violates or is alleged to violate:
      "Property damage" to "impaired property" or
      property that has not been physically injured,               (1) The Telephone Consumer Protection Act
      arising out of:                                                  (TCPA), including any amendment of or
                                                                       addition to such law;
     (1) A defect, deficiency, inadequacy or
           dangerous condition in "your product" or                (2) The CAN-SPAM Act of 2003, including any
           "your work"; or                                             amendment of or addition to such law;
     (2) A delay or failure by you or anyone acting                (3) The Fair Credit Reporting Act (FCRA), and
         on your behalf to perform a contract or                       any amendment of or addition to such law,
         agreement in accordance with its terms.                       including the Fair and Accurate Credit
                                                                       Transactions Act (FACTA); or




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      (4) Any federal, state or local statute,                2. Exclusions
           ordinance or regulation, other than the               This insurance does not apply to:
           TCPA, CAN-SPAM Act of 2003 or FCRA
           and their amendments and additions, that              a. Knowing Violation Of Rights Of Another
           addresses, prohibits, or limits the printing,            "Personal and advertising injury" caused by or
           dissemination,       disposal,      collecting,          at the direction of the insured with the
           recording,        sending,       transmitting,           knowledge that the act would violate the rights
           communicating or distribution of material or             of another and would inflict "personal and
           information.                                             advertising injury".
   Exclusions c. through n. do not apply to damage               b. Material Published With Knowledge Of
   by fire to premises while rented to you or                       Falsity
   temporarily occupied by you with permission of the
                                                                    "Personal and advertising injury" arising out of
   owner. A separate limit of insurance applies to this
                                                                    oral or written publication, in any manner, of
   coverage as described in Section III – Limits Of
                                                                    material, if done by or at the direction of the
   Insurance.
                                                                    insured with knowledge of its falsity.
COVERAGE B – PERSONAL AND ADVERTISING
                                                                 c. Material Published Prior To Policy Period
INJURY LIABILITY
                                                                    "Personal and advertising injury" arising out of
1. Insuring Agreement
                                                                    oral or written publication, in any manner, of
   a. We will pay those sums that the insured                       material whose first publication took place
       becomes legally obligated to pay as damages                  before the beginning of the policy period.
       because of "personal and advertising injury" to
                                                                 d. Criminal Acts
       which this insurance applies. We will have the
       right and duty to defend the insured against                 "Personal and advertising injury" arising out of
       any "suit" seeking those damages. However,                   a criminal act committed by or at the direction
       we will have no duty to defend the insured                   of the insured.
       against any "suit" seeking damages for                    e. Contractual Liability
       "personal and advertising injury" to which this
       insurance does not apply. We may, at our                     "Personal and advertising injury" for which the
       discretion, investigate any offense and settle               insured has assumed liability in a contract or
       any claim or "suit" that may result. But:                    agreement. This exclusion does not apply to
                                                                    liability for damages that the insured would
      (1) The amount we will pay for damages is                     have in the absence of the contract or
           limited as described in Section III – Limits             agreement.
           Of Insurance; and
                                                                  f. Breach Of Contract
     (2) Our right and duty to defend end when we
          have used up the applicable limit of                       "Personal and advertising injury" arising out of
          insurance in the payment of judgments or                   a breach of contract, except an implied
          settlements under Coverages A or B or                      contract to use another's advertising idea in
          medical expenses under Coverage C.                         your "advertisement".
      No other obligation or liability to pay sums or            g. Quality Or Performance Of Goods – Failure
      perform acts or services is covered unless                    To Conform To Statements
      explicitly provided for under Supplementary                   "Personal and advertising injury" arising out of
      Payments – Coverages A and B.                                 the failure of goods, products or services to
   b. This insurance applies to "personal and                       conform with any statement of quality or
      advertising injury" caused by an offense arising              performance made in your "advertisement".
      out of your business but only if the offense was           h. Wrong Description Of Prices
      committed in the "coverage territory" during the              "Personal and advertising injury" arising out of
      policy period.                                                the wrong description of the price of goods,
                                                                    products or services stated in your
                                                                    "advertisement".




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   i. Infringement Of Copyright, Patent,                      n. Pollution-related
      Trademark Or Trade Secret                                  Any loss, cost or expense arising out of any:
      "Personal and advertising injury" arising out of          (1) Request, demand, order or statutory or
      the infringement of copyright, patent,                        regulatory requirement that any insured or
      trademark, trade secret or other intellectual                 others test for, monitor, clean up, remove,
      property rights. Under this exclusion, such                   contain, treat, detoxify or neutralize, or in
      other intellectual property rights do not include             any way respond to, or assess the effects
      the use of another's advertising idea in your                 of, "pollutants"; or
      "advertisement".
                                                                (2) Claim or suit by or on behalf of a
      However, this exclusion does not apply to                     governmental authority for damages
      infringement, in your "advertisement", of                     because of testing for, monitoring, cleaning
      copyright, trade dress or slogan.                             up,     removing,      containing,      treating,
   j. Insureds In Media And Internet Type                           detoxifying or neutralizing, or in any way
      Businesses                                                    responding to, or assessing the effects of,
      "Personal and advertising injury" committed by                "pollutants".
      an insured whose business is:                           o. War
     (1) Advertising, broadcasting, publishing or                "Personal and advertising injury", however
         telecasting;                                            caused, arising, directly or indirectly, out of:
     (2) Designing or determining content of web                (1) War, including undeclared or civil war;
          sites for others; or                                  (2) Warlike action by a military force, including
     (3) An Internet search, access, content or                      action in hindering or defending against an
          service provider.                                          actual or expected attack, by any
      However, this exclusion does not apply to                      government, sovereign or other authority
      Paragraphs 14.a., b. and c. of "personal and                   using military personnel or other agents; or
      advertising injury" under the Definitions                 (3) Insurrection, rebellion, revolution, usurped
      section.                                                       power, or action taken by governmental
      For the purposes of this exclusion, the placing                authority in hindering or defending against
      of frames, borders or links, or advertising, for               any of these.
      you or others anywhere on the Internet, is not          p. Recording And Distribution Of Material Or
      by itself, considered the business of                      Information In Violation Of Law
      advertising, broadcasting, publishing or                   "Personal and advertising injury" arising
      telecasting.                                               directly or indirectly out of any action or
   k. Electronic Chatrooms Or Bulletin Boards                    omission that violates or is alleged to violate:
      "Personal and advertising injury" arising out of          (1) The Telephone Consumer Protection Act
      an electronic chatroom or bulletin board the                   (TCPA), including any amendment of or
      insured hosts, owns, or over which the insured                 addition to such law;
      exercises control.                                        (2) The CAN-SPAM Act of 2003, including any
   l. Unauthorized Use Of Another's Name Or                          amendment of or addition to such law;
      Product                                                   (3) The Fair Credit Reporting Act (FCRA), and
      "Personal and advertising injury" arising out of               any amendment of or addition to such law,
      the unauthorized use of another's name or                      including the Fair and Accurate Credit
      product in your e-mail address, domain name                    Transactions Act (FACTA); or
      or metatag, or any other similar tactics to               (4) Any federal, state or local statute,
      mislead another's potential customers.                         ordinance or regulation, other than the
  m. Pollution                                                       TCPA, CAN-SPAM Act of 2003 or FCRA
     "Personal and advertising injury" arising out of                and their amendments and additions, that
     the actual, alleged or threatened discharge,                    addresses, prohibits, or limits the printing,
     dispersal, seepage, migration, release or                       dissemination,      disposal,       collecting,
     escape of "pollutants" at any time.                             recording,       sending,        transmitting,
                                                                     communicating or distribution of material or
                                                                     information.




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COVERAGE C – MEDICAL PAYMENTS                                  d. Workers' Compensation And Similar Laws
1. Insuring Agreement                                             To a person, whether or not an "employee" of
   a. We will pay medical expenses as described                   any insured, if benefits for the "bodily injury"
       below for "bodily injury" caused by an accident:           are payable or must be provided under a
                                                                  workers' compensation or disability benefits
      (1) On premises you own or rent;                            law or a similar law.
      (2) On ways next to premises you own or rent;            e. Athletics Activities
           or
                                                                  To a person injured while practicing, instructing
      (3) Because of your operations;                             or participating in any physical exercises or
       provided that:                                             games, sports, or athletic contests.
          (a) The accident takes place in the                   f. Products-Completed Operations Hazard
              "coverage territory" and during the policy           Included within the "products-completed
              period;                                              operations hazard".
         (b) The expenses are incurred and reported            g. Coverage A Exclusions
              to us within one year of the date of the
              accident; and                                        Excluded under Coverage A.
         (c) The injured person submits to                  SUPPLEMENTARY PAYMENTS – COVERAGES A
             examination, at our expense, by                AND B
             physicians of our choice as often as we        1. We will pay, with respect to any claim we
             reasonably require.                               investigate or settle, or any "suit" against an
   b. We will make these payments regardless of                insured we defend:
      fault. These payments will not exceed the                a. All expenses we incur.
      applicable limit of insurance. We will pay               b. Up to $250 for cost of bail bonds required
      reasonable expenses for:                                     because of accidents or traffic law violations
      (1) First aid administered at the time of an                 arising out of the use of any vehicle to which
          accident;                                                the Bodily Injury Liability Coverage applies. We
      (2) Necessary medical, surgical, X-ray and                   do not have to furnish these bonds.
          dental    services,  including  prosthetic           c. The cost of bonds to release attachments, but
          devices; and                                             only for bond amounts within the applicable
     (3) Necessary         ambulance,         hospital,            limit of insurance. We do not have to furnish
          professional nursing and funeral services.               these bonds.
2. Exclusions                                                  d. All reasonable expenses incurred by the
                                                                   insured at our request to assist us in the
   We will not pay expenses for "bodily injury":                   investigation or defense of the claim or "suit",
   a. Any Insured                                                  including actual loss of earnings up to $250 a
      To any insured, except "volunteer workers".                  day because of time off from work.
   b. Hired Person                                             e. All court costs taxed against the insured in the
                                                                  "suit". However, these payments do not include
      To a person hired to do work for or on behalf of            attorneys' fees or attorneys' expenses taxed
      any insured or a tenant of any insured.                     against the insured.
   c. Injury On Normally Occupied Premises                      f. Prejudgment interest awarded against the
      To a person injured on that part of premises                 insured on that part of the judgment we pay. If
      you own or rent that the person normally                     we make an offer to pay the applicable limit of
      occupies.                                                    insurance, we will not pay any prejudgment
                                                                   interest based on that period of time after the
                                                                   offer.




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   g. All interest on the full amount of any judgment            So long as the above conditions are met,
       that accrues after entry of the judgment and              attorneys' fees incurred by us in the defense of
       before we have paid, offered to pay, or                   that indemnitee, necessary litigation expenses
       deposited in court the part of the judgment that          incurred by us and necessary litigation expenses
       is within the applicable limit of insurance.              incurred by the indemnitee at our request will be
   These payments will not reduce the limits of                  paid        as       Supplementary     Payments.
   insurance.                                                    Notwithstanding the provisions of Paragraph
                                                                 2.b.(2) of Section I – Coverage A – Bodily Injury
2. If we defend an insured against a "suit" and an               And Property Damage Liability, such payments will
   indemnitee of the insured is also named as a party            not be deemed to be damages for "bodily injury"
   to the "suit", we will defend that indemnitee if all of       and "property damage" and will not reduce the
   the following conditions are met:                             limits of insurance.
   a. The "suit" against the indemnitee seeks                    Our obligation to defend an insured's indemnitee
       damages for which the insured has assumed                 and to pay for attorneys' fees and necessary
       the liability of the indemnitee in a contract or          litigation expenses as Supplementary Payments
       agreement that is an "insured contract";                  ends when we have used up the applicable limit of
   b. This insurance applies to such liability                   insurance in the payment of judgments or
       assumed by the insured;                                   settlements or the conditions set forth above, or
   c. The obligation to defend, or the cost of the               the terms of the agreement described in
      defense of, that indemnitee, has also been                 Paragraph f. above, are no longer met.
      assumed by the insured in the same "insured             SECTION II – WHO IS AN INSURED
      contract";                                              1. If you are designated in the Declarations as:
   d. The allegations in the "suit" and the information          a. An individual, you and your spouse are
      we know about the "occurrence" are such that                   insureds, but only with respect to the conduct
      no conflict appears to exist between the                       of a business of which you are the sole owner.
      interests of the insured and the interests of the
      indemnitee;                                                b. A partnership or joint venture, you are an
                                                                     insured. Your members, your partners, and
   e. The indemnitee and the insured ask us to                       their spouses are also insureds, but only with
      conduct and control the defense of that                        respect to the conduct of your business.
      indemnitee against such "suit" and agree that
      we can assign the same counsel to defend the               c. A limited liability company, you are an insured.
      insured and the indemnitee; and                                Your members are also insureds, but only with
                                                                     respect to the conduct of your business. Your
   f. The indemnitee:                                                managers are insureds, but only with respect
     (1) Agrees in writing to:                                       to their duties as your managers.
         (a) Cooperate with us in the investigation,             d. An organization other than a partnership, joint
             settlement or defense of the "suit";                    venture or limited liability company, you are an
                                                                     insured. Your "executive officers" and directors
         (b) Immediately send us copies of any
                                                                     are insureds, but only with respect to their
             demands, notices, summonses or legal
                                                                     duties as your officers or directors. Your
             papers received in connection with the
                                                                     stockholders are also insureds, but only with
             "suit";
                                                                     respect to their liability as stockholders.
         (c) Notify any other insurer whose coverage
                                                                 e. A trust, you are an insured. Your trustees are
             is available to the indemnitee; and
                                                                    also insureds, but only with respect to their
         (d) Cooperate with us with respect to                      duties as trustees.
             coordinating other applicable insurance
             available to the indemnitee; and
      (2) Provides us with written authorization to:
         (a) Obtain records and other information
             related to the "suit"; and
         (b) Conduct and control the defense of the
             indemnitee in such "suit".




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2. Each of the following is also an insured:                   c. Any person or organization having proper
   a. Your "volunteer workers" only while performing              temporary custody of your property if you die,
      duties related to the conduct of your business,             but only:
      or your "employees", other than either your                (1) With respect to liability arising out of the
      "executive officers" (if you are an organization               maintenance or use of that property; and
      other than a partnership, joint venture or limited          (2) Until your legal representative has been
      liability company) or your managers (if you are                 appointed.
      a limited liability company), but only for acts
      within the scope of their employment by you or           d. Your legal representative if you die, but only
      while performing duties related to the conduct               with respect to duties as such. That
      of your business. However, none of these                     representative will have all your rights and
      "employees" or "volunteer workers" are                       duties under this Coverage Part.
      insureds for:                                         3. Any organization you newly acquire or form, other
     (1) "Bodily injury" or "personal and advertising          than a partnership, joint venture or limited liability
          injury":                                             company, and over which you maintain ownership
                                                               or majority interest, will qualify as a Named
         (a) To you, to your partners or members (if           Insured if there is no other similar insurance
             you are a partnership or joint venture),          available to that organization. However:
             to your members (if you are a limited
             liability company), to a co-"employee"            a. Coverage under this provision is afforded only
             while in the course of his or her                    until the 90th day after you acquire or form the
             employment or performing duties related              organization or the end of the policy period,
             to the conduct of your business, or to               whichever is earlier;
             your other "volunteer workers" while               b. Coverage A does not apply to "bodily injury" or
             performing duties related to the conduct              "property damage" that occurred before you
             of your business;                                     acquired or formed the organization; and
         (b) To the spouse, child, parent, brother or           c. Coverage B does not apply to "personal and
             sister of that co-"employee" or                       advertising injury" arising out of an offense
             "volunteer worker" as a consequence of                committed before you acquired or formed the
             Paragraph (1)(a) above;                               organization.
         (c) For which there is any obligation to           No person or organization is an insured with respect
             share damages with or repay someone            to the conduct of any current or past partnership, joint
             else who must pay damages because of           venture or limited liability company that is not shown
             the injury described in Paragraph (1)(a)       as a Named Insured in the Declarations.
             or (b) above; or
                                                            SECTION III – LIMITS OF INSURANCE
         (d) Arising out of his or her providing or
                                                            1. The Limits of Insurance shown in the Declarations
             failing to provide professional health             and the rules below fix the most we will pay
             care services.                                     regardless of the number of:
      (2) "Property damage" to property:                        a. Insureds;
         (a) Owned, occupied or used by;                        b. Claims made or "suits" brought; or
         (b) Rented to, in the care, custody or                 c. Persons or organizations making claims or
             control of, or over which physical control            bringing "suits".
             is being exercised for any purpose by;
                                                            2. The General Aggregate Limit is the most we will
          you, any of your "employees", "volunteer              pay for the sum of:
          workers", any partner or member (if you are
          a partnership or joint venture), or any              a. Medical expenses under Coverage C;
          member (if you are a limited liability               b. Damages under Coverage A, except damages
          company).                                               because of "bodily injury" or "property damage"
   b. Any person (other than your "employee" or                   included in the "products-completed operations
      "volunteer worker"), or any organization while              hazard"; and
      acting as your real estate manager.                      c. Damages under Coverage B.




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3. The Products-Completed Operations Aggregate                  (3) The nature and location of any injury or
    Limit is the most we will pay under Coverage A for               damage arising out of the "occurrence" or
    damages because of "bodily injury" and "property                 offense.
    damage" included in the "products-completed               b. If a claim is made or "suit" is brought against
    operations hazard".                                          any insured, you must:
4. Subject to Paragraph 2. above, the Personal And               (1) Immediately record the specifics of the
    Advertising Injury Limit is the most we will pay                 claim or "suit" and the date received; and
    under Coverage B for the sum of all damages
    because of all "personal and advertising injury"             (2) Notify us as soon as practicable.
    sustained by any one person or organization.                  You must see to it that we receive written
5. Subject to Paragraph 2. or 3. above, whichever                 notice of the claim or "suit" as soon as
    applies, the Each Occurrence Limit is the most we             practicable.
    will pay for the sum of:                                  c. You and any other involved insured must:
    a. Damages under Coverage A; and                            (1) Immediately send us copies of any
    b. Medical expenses under Coverage C                            demands, notices, summonses or legal
                                                                    papers received in connection with the
    because of all "bodily injury" and "property                    claim or "suit";
    damage" arising out of any one "occurrence".
                                                                 (2) Authorize us to obtain records and other
6. Subject to Paragraph 5. above, the Damage To                      information;
    Premises Rented To You Limit is the most we will
    pay under Coverage A for damages because of                  (3) Cooperate with us in the investigation or
    "property damage" to any one premises, while                     settlement of the claim or defense against
    rented to you, or in the case of damage by fire,                 the "suit"; and
    while rented to you or temporarily occupied by you          (4) Assist us, upon our request, in the
    with permission of the owner.                                     enforcement of any right against any
7. Subject to Paragraph 5. above, the Medical                         person or organization which may be liable
    Expense Limit is the most we will pay under                       to the insured because of injury or damage
    Coverage C for all medical expenses because of                    to which this insurance may also apply.
    "bodily injury" sustained by any one person.              d. No insured will, except at that insured's own
The Limits of Insurance of this Coverage Part apply              cost, voluntarily make a payment, assume any
separately to each consecutive annual period and to              obligation, or incur any expense, other than for
any remaining period of less than 12 months, starting            first aid, without our consent.
with the beginning of the policy period shown in the       3. Legal Action Against Us
Declarations, unless the policy period is extended
                                                              No person or organization has a right under this
after issuance for an additional period of less than 12       Coverage Part:
months. In that case, the additional period will be
deemed part of the last preceding period for purposes         a. To join us as a party or otherwise bring us into
of determining the Limits of Insurance.                          a "suit" asking for damages from an insured; or
SECTION IV – COMMERCIAL GENERAL LIABILITY                     b. To sue us on this Coverage Part unless all of
CONDITIONS                                                        its terms have been fully complied with.
1. Bankruptcy                                                 A person or organization may sue us to recover on
                                                              an agreed settlement or on a final judgment
    Bankruptcy or insolvency of the insured or of the         against an insured; but we will not be liable for
    insured's estate will not relieve us of our
                                                              damages that are not payable under the terms of
    obligations under this Coverage Part.                     this Coverage Part or that are in excess of the
2. Duties In The Event Of Occurrence, Offense,                applicable limit of insurance. An agreed settlement
    Claim Or Suit                                             means a settlement and release of liability signed
    a. You must see to it that we are notified as soon        by us, the insured and the claimant or the
        as practicable of an "occurrence" or an offense       claimant's legal representative.
        which may result in a claim. To the extent
        possible, notice should include:
       (1) How, when and where the "occurrence" or
            offense took place;
      (2) The names and addresses of any injured
          persons and witnesses; and




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4. Other Insurance                                                 (3) When this insurance is excess over other
   If other valid and collectible insurance is available               insurance, we will pay only our share of the
   to the insured for a loss we cover under                            amount of the loss, if any, that exceeds the
   Coverages A or B of this Coverage Part, our                         sum of:
   obligations are limited as follows:                                 (a) The total amount that all such other
   a. Primary Insurance                                                     insurance would pay for the loss in the
                                                                            absence of this insurance; and
      This insurance is primary except when
      Paragraph b. below applies. If this insurance is                (b) The total of all deductible and self-
      primary, our obligations are not affected unless                      insured amounts under all that other
      any of the other insurance is also primary.                           insurance.
      Then, we will share with all that other                     (4) We will share the remaining loss, if any,
      insurance by the method described in                              with any other insurance that is not
      Paragraph c. below.                                               described in this Excess Insurance
   b. Excess Insurance                                                  provision and was not bought specifically to
                                                                        apply in excess of the Limits of Insurance
     (1) This insurance is excess over:                                 shown in the Declarations of this Coverage
        (a) Any of the other insurance, whether                         Part.
             primary, excess, contingent or on any              c. Method Of Sharing
             other basis:
                                                                   If all of the other insurance permits contribution
             (i) That is Fire, Extended Coverage,                  by equal shares, we will follow this method
                 Builder's Risk, Installation Risk or              also. Under this approach each insurer
                 similar coverage for "your work";                 contributes equal amounts until it has paid its
            (ii) That is Fire insurance for premises               applicable limit of insurance or none of the loss
                 rented to you or temporarily                      remains, whichever comes first.
                 occupied by you with permission of                If any of the other insurance does not permit
                 the owner;                                        contribution by equal shares, we will contribute
           (iii) That is insurance purchased by you                by limits. Under this method, each insurer's
                 to cover your liability as a tenant for           share is based on the ratio of its applicable
                 "property damage" to premises                     limit of insurance to the total applicable limits of
                 rented to you or temporarily                      insurance of all insurers.
                 occupied by you with permission of          5. Premium Audit
                 the owner; or
                                                                a. We will compute all premiums for this
            (iv) If the loss arises out of the                     Coverage Part in accordance with our rules
                  maintenance or use of aircraft,                  and rates.
                  "autos" or watercraft to the extent not
                  subject to Exclusion g. of Section I –        b. Premium shown in this Coverage Part as
                  Coverage A – Bodily Injury And                   advance premium is a deposit premium only.
                  Property Damage Liability.                       At the close of each audit period we will
                                                                   compute the earned premium for that period
         (b) Any other primary insurance available to              and send notice to the first Named Insured.
              you covering liability for damages                   The due date for audit and retrospective
              arising out of the premises or                       premiums is the date shown as the due date
              operations, or the products and                      on the bill. If the sum of the advance and audit
              completed operations, for which you                  premiums paid for the policy period is greater
              have been added as an additional                     than the earned premium, we will return the
              insured.                                             excess to the first Named Insured.
      (2) When this insurance is excess, we will have           c. The first Named Insured must keep records of
          no duty under Coverages A or B to defend                 the information we need for premium
          the insured against any "suit" if any other              computation, and send us copies at such times
          insurer has a duty to defend the insured                 as we may request.
          against that "suit". If no other insurer
          defends, we will undertake to do so, but we        6. Representations
          will be entitled to the insured's rights              By accepting this policy, you agree:
          against all those other insurers.                     a. The statements in the Declarations are
                                                                   accurate and complete;




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   b. Those     statements      are     based    upon            However, "auto" does not include "mobile
      representations you made to us; and                        equipment".
   c. We have issued this policy in reliance upon             3. "Bodily injury" means bodily injury, sickness or
      your representations.                                      disease sustained by a person, including death
7. Separation Of Insureds                                        resulting from any of these at any time.
   Except with respect to the Limits of Insurance, and        4. "Coverage territory" means:
   any rights or duties specifically assigned in this            a. The United States of America (including its
   Coverage Part to the first Named Insured, this                   territories and possessions), Puerto Rico and
   insurance applies:                                               Canada;
   a. As if each Named Insured were the only                     b. International waters or airspace, but only if the
      Named Insured; and                                            injury or damage occurs in the course of travel
   b. Separately to each insured against whom claim                 or transportation between any places included
       is made or "suit" is brought.                                in Paragraph a. above; or
8. Transfer Of Rights Of Recovery Against Others                 c. All other parts of the world if the injury or
   To Us                                                            damage arises out of:
   If the insured has rights to recover all or part of              (1) Goods or products made or sold by you in
   any payment we have made under this Coverage                          the territory described in Paragraph a.
   Part, those rights are transferred to us. The                         above;
   insured must do nothing after loss to impair them.               (2) The activities of a person whose home is in
   At our request, the insured will bring "suit" or                      the territory described in Paragraph a.
   transfer those rights to us and help us enforce                       above, but is away for a short time on your
   them.                                                                 business; or
9. When We Do Not Renew                                             (3) "Personal and advertising injury" offenses
   If we decide not to renew this Coverage Part, we                      that take place through the Internet or
   will mail or deliver to the first Named Insured                       similar electronic means of communication;
   shown in the Declarations written notice of the               provided the insured's responsibility to pay
   nonrenewal not less than 30 days before the                   damages is determined in a "suit" on the merits, in
   expiration date.                                              the territory described in Paragraph a. above or in
   If notice is mailed, proof of mailing will be sufficient      a settlement we agree to.
   proof of notice.                                           5. "Employee"       includes    a   "leased   worker".
SECTION V – DEFINITIONS                                          "Employee" does not include a "temporary
                                                                 worker".
1. "Advertisement" means a notice that is broadcast
   or published to the general public or specific             6. "Executive officer" means a person holding any of
   market segments about your goods, products or                 the officer positions created by your charter,
   services for the purpose of attracting customers or           constitution, bylaws or any other similar governing
   supporters. For the purposes of this definition:              document.
   a. Notices that are published include material             7. "Hostile fire" means one which becomes
       placed on the Internet or on similar electronic           uncontrollable or breaks out from where it was
       means of communication; and                               intended to be.
   b. Regarding web sites, only that part of a web            8. "Impaired property" means tangible property, other
       site that is about your goods, products or                than "your product" or "your work", that cannot be
       services for the purposes of attracting                   used or is less useful because:
       customers or supporters is considered an                  a. It incorporates "your product" or "your work"
       advertisement.                                                that is known or thought to be defective,
2. "Auto" means:                                                     deficient, inadequate or dangerous; or
   a. A land motor vehicle, trailer or semitrailer               b. You have failed to fulfill the terms of a contract
       designed for travel on public roads, including                or agreement;
       any attached machinery or equipment; or                   if such property can be restored to use by the
   b. Any other land vehicle that is subject to a                repair, replacement, adjustment or removal of
       compulsory or financial responsibility law or             "your product" or "your work" or your fulfilling the
       other motor vehicle insurance law where it is             terms of the contract or agreement.
       licensed or principally garaged.




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9. "Insured contract" means:                                 10. "Leased worker" means a person leased to you by
   a. A contract for a lease of premises. However,               a labor leasing firm under an agreement between
       that portion of the contract for a lease of               you and the labor leasing firm, to perform duties
       premises that indemnifies any person or                   related to the conduct of your business. "Leased
       organization for damage by fire to premises               worker" does not include a "temporary worker".
       while rented to you or temporarily occupied by        11. "Loading or unloading" means the handling of
       you with permission of the owner is not an                property:
       "insured contract";                                       a. After it is moved from the place where it is
   b. A sidetrack agreement;                                         accepted for movement into or onto an aircraft,
   c. Any easement or license agreement, except in                   watercraft or "auto";
      connection with construction or demolition                 b. While it is in or on an aircraft, watercraft or
      operations on or within 50 feet of a railroad;                 "auto"; or
   d. An obligation, as required by ordinance, to                c. While it is being moved from an aircraft,
      indemnify a municipality, except in connection                 watercraft or "auto" to the place where it is
      with work for a municipality;                                  finally delivered;
   e. An elevator maintenance agreement;                         but "loading or unloading" does not include the
   f. That part of any other contract or agreement               movement of property by means of a mechanical
      pertaining to your business (including an                  device, other than a hand truck, that is not
      indemnification of a municipality in connection            attached to the aircraft, watercraft or "auto".
      with work performed for a municipality) under          12. "Mobile equipment" means any of the following
      which you assume the tort liability of another             types of land vehicles, including any attached
      party to pay for "bodily injury" or "property              machinery or equipment:
      damage" to a third person or organization. Tort           a. Bulldozers, farm machinery, forklifts and other
      liability means a liability that would be imposed            vehicles designed for use principally off public
      by law in the absence of any contract or                     roads;
      agreement.
                                                                b. Vehicles maintained for use solely on or next to
      Paragraph f. does not include that part of any               premises you own or rent;
      contract or agreement:
                                                                c. Vehicles that travel on crawler treads;
     (1) That indemnifies a railroad for "bodily injury"
          or "property damage" arising out of                   d. Vehicles, whether self-propelled or not,
          construction or demolition operations, within            maintained primarily to provide mobility to
          50 feet of any railroad property and                     permanently mounted:
          affecting any railroad bridge or trestle,               (1) Power cranes, shovels, loaders, diggers or
          tracks, road-beds, tunnel, underpass or                     drills; or
          crossing;                                               (2) Road construction or resurfacing equipment
     (2) That indemnifies an architect, engineer or                    such as graders, scrapers or rollers;
          surveyor for injury or damage arising out of:         e. Vehicles not described in Paragraph a., b., c.
         (a) Preparing, approving, or failing to                   or d. above that are not self-propelled and are
             prepare or approve, maps, shop                        maintained primarily to provide mobility to
             drawings, opinions, reports, surveys,                 permanently attached equipment of the
             field orders, change orders or drawings               following types:
             and specifications; or                               (1) Air compressors, pumps and generators,
         (b) Giving directions or instructions, or                     including spraying, welding, building
             failing to give them, if that is the primary              cleaning, geophysical exploration, lighting
             cause of the injury or damage; or                         and well servicing equipment; or
     (3) Under which the insured, if an architect,                (2) Cherry pickers and similar devices used to
         engineer or surveyor, assumes liability for                   raise or lower workers;
         an injury or damage arising out of the                  f. Vehicles not described in Paragraph a., b., c.
         insured's rendering or failure to render                   or d. above maintained primarily for purposes
         professional services, including those listed              other than the transportation of persons or
         in (2) above and supervisory, inspection,                  cargo.
         architectural or engineering activities.




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      However, self-propelled vehicles with the             16. "Products-completed operations hazard":
      following types of permanently attached                   a. Includes all "bodily injury" and "property
      equipment are not "mobile equipment" but will                damage" occurring away from premises you
      be considered "autos":                                       own or rent and arising out of "your product" or
      (1) Equipment designed primarily for:                        "your work" except:
         (a) Snow removal;                                        (1) Products that are still in your physical
         (b) Road maintenance, but not construction                   possession; or
              or resurfacing; or                                  (2) Work that has not yet been completed or
         (c) Street cleaning;                                         abandoned. However, "your work" will be
                                                                      deemed completed at the earliest of the
      (2) Cherry pickers and similar devices mounted                  following times:
          on automobile or truck chassis and used to
          raise or lower workers; and                                (a) When all of the work called for in your
                                                                          contract has been completed.
      (3) Air compressors, pumps and generators,
          including spraying, welding, building                      (b) When all of the work to be done at the
          cleaning, geophysical exploration, lighting                     job site has been completed if your
          and well servicing equipment.                                   contract calls for work at more than one
                                                                          job site.
    However, "mobile equipment" does not include
    any land vehicles that are subject to a compulsory               (c) When that part of the work done at a job
    or financial responsibility law or other motor                        site has been put to its intended use by
    vehicle insurance law where it is licensed or                         any person or organization other than
    principally garaged. Land vehicles subject to a                       another contractor or subcontractor
    compulsory or financial responsibility law or other                   working on the same project.
    motor vehicle insurance law are considered                        Work that may need service, maintenance,
    "autos".                                                          correction, repair or replacement, but which
13. "Occurrence" means an accident, including                         is otherwise complete, will be treated as
    continuous or repeated exposure to substantially                  completed.
    the same general harmful conditions.                       b. Does not include "bodily injury" or "property
14. "Personal and advertising injury" means injury,               damage" arising out of:
    including consequential "bodily injury", arising out         (1) The transportation of property, unless the
    of one or more of the following offenses:                        injury or damage arises out of a condition in
    a. False arrest, detention or imprisonment;                      or on a vehicle not owned or operated by
                                                                     you, and that condition was created by the
    b. Malicious prosecution;                                        "loading or unloading" of that vehicle by any
    c. The wrongful eviction from, wrongful entry into,              insured;
        or invasion of the right of private occupancy of         (2) The existence of tools, uninstalled
        a room, dwelling or premises that a person                   equipment or abandoned or unused
        occupies, committed by or on behalf of its                   materials; or
        owner, landlord or lessor;
                                                                 (3) Products or operations for which the
   d. Oral or written publication, in any manner, of                 classification, listed in the Declarations or in
      material that slanders or libels a person or                   a policy Schedule, states that products-
      organization or disparages a person's or                       completed operations are subject to the
      organization's goods, products or services;                    General Aggregate Limit.
   e. Oral or written publication, in any manner, of        17. "Property damage" means:
      material that violates a person's right of
      privacy;                                                  a. Physical injury to tangible property, including
                                                                   all resulting loss of use of that property. All
   f. The use of another's advertising idea in your                such loss of use shall be deemed to occur at
      "advertisement"; or                                          the time of the physical injury that caused it; or
    g. Infringing upon another's copyright, trade dress        b. Loss of use of tangible property that is not
       or slogan in your "advertisement".                         physically injured. All such loss of use shall be
15. "Pollutants" mean any solid, liquid, gaseous or               deemed to occur at the time of the
    thermal irritant or contaminant, including smoke,             "occurrence" that caused it.
    vapor, soot, fumes, acids, alkalis, chemicals and          For the purposes of this insurance, electronic data
    waste. Waste includes materials to be recycled,            is not tangible property.
    reconditioned or reclaimed.



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    As used in this definition, electronic data means          b. Includes:
    information, facts or programs stored as or on,              (1) Warranties or representations made at any
    created or used on, or transmitted to or from                     time with respect to the fitness, quality,
    computer software, including systems and                          durability, performance or use of "your
    applications software, hard or floppy disks, CD-                  product"; and
    ROMs, tapes, drives, cells, data processing
    devices or any other media which are used with               (2) The providing of or failure to provide
    electronically controlled equipment.                             warnings or instructions.
18. "Suit" means a civil proceeding in which damages           c. Does not include vending machines or other
    because of "bodily injury", "property damage" or              property rented to or located for the use of
    "personal and advertising injury" to which this               others but not sold.
    insurance applies are alleged. "Suit" includes:         22. "Your work":
    a. An arbitration proceeding in which such                  a. Means:
        damages are claimed and to which the insured
                                                                  (1) Work or operations performed by you or on
        must submit or does submit with our consent;
                                                                       your behalf; and
        or
                                                                  (2) Materials, parts or equipment furnished in
    b. Any other alternative dispute resolution
                                                                       connection with such work or operations.
        proceeding in which such damages are
        claimed and to which the insured submits with           b. Includes:
        our consent.                                              (1) Warranties or representations made at any
19. "Temporary worker" means a person who is                           time with respect to the fitness, quality,
    furnished to you to substitute for a permanent                     durability, performance or use of "your
    "employee" on leave or to meet seasonal or short-                  work"; and
    term workload conditions.                                     (2) The providing of or failure to provide
20. "Volunteer worker" means a person who is not                       warnings or instructions.
    your "employee", and who donates his or her work
    and acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone
    else for their work performed for you.
21. "Your product":
    a. Means:
      (1) Any goods or products, other than real
           property, manufactured, sold, handled,
           distributed or disposed of by:
          (a) You;
          (b) Others trading under your name; or
          (c) A person or organization whose
               business or assets you have acquired;
               and
      (2) Containers (other than vehicles), materials,
           parts or equipment furnished in connection
           with such goods or products.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 33 12 19

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         ADDITIONAL INSURED – OWNERS, LESSEES OR
          CONTRACTORS – AUTOMATIC STATUS WHEN
           REQUIRED IN A WRITTEN CONSTRUCTION
                   AGREEMENT WITH YOU
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Section II – Who Is An Insured is amended to            B. With respect to the insurance afforded to these
   include as an additional insured any person or             additional insureds, the following additional
   organization for whom you are performing                   exclusions apply:
   operations when you and such person or                     This insurance does not apply to:
   organization have agreed in writing in a contract or
   agreement that such person or organization be              1. "Bodily injury", "property damage" or "personal
   added as an additional insured on your policy.                and advertising injury" arising out of the
   Such person or organization is an additional                  rendering of, or the failure to render, any
   insured only with respect to liability for "bodily            professional architectural, engineering or
   injury", "property damage" or "personal and                   surveying services, including:
   advertising injury" caused, in whole or in part, by:          a. The preparing, approving, or failing to
   1. Your acts or omissions; or                                     prepare or approve, maps, shop drawings,
                                                                     opinions, reports, surveys, field orders,
   2. The acts or omissions of those acting on your                  change      orders     or  drawings    and
       behalf;                                                       specifications; or
   in the performance of your ongoing operations for             b. Supervisory, inspection, architectural or
   the additional insured.                                           engineering activities.
   However, the insurance afforded to such                       This exclusion applies even if the claims
   additional insured:                                           against any insured allege negligence or other
   1. Only applies to the extent permitted by law;               wrongdoing in the supervision, hiring,
       and                                                       employment, training or monitoring of others by
   2. Will not be broader than that which you are                that insured, if the "occurrence" which caused
      required by the contract or agreement to                   the "bodily injury" or "property damage", or the
      provide for such additional insured.                       offense which caused the "personal and
                                                                 advertising injury", involved the rendering of or
   A person's or organization's status as an                     the failure to render any professional
   additional insured under this endorsement ends                architectural,    engineering     or   surveying
   when your operations for that additional insured              services.
   are completed.




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   2. "Bodily injury" or "property damage" occurring      C. With respect to the insurance afforded to these
      after:                                                 additional insureds, the following is added to
      a. All work, including materials, parts or             Section III – Limits Of Insurance:
          equipment furnished in connection with             The most we will pay on behalf of the additional
          such work, on the project (other than              insured is the amount of insurance:
          service, maintenance or repairs) to be             1. Required by the contract or agreement you
          performed by or on behalf of the additional           have entered into with the additional insured;
          insured(s) at the location of the covered             or
          operations has been completed; or
                                                             2. Available under the applicable limits of
      b. That portion of "your work" out of which the           insurance;
          injury or damage arises has been put to its
          intended use by any person or organization         whichever is less.
          other     than   another    contractor   or        This endorsement shall not         increase   the
          subcontractor engaged in performing                applicable limits of insurance.
          operations for a principal as a part of the
          same project.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 06 05 14

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION – ACCESS OR DISCLOSURE OF
      CONFIDENTIAL OR PERSONAL INFORMATION AND
             DATA-RELATED LIABILITY – WITH
           LIMITED BODILY INJURY EXCEPTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Exclusion 2.p. of Section I – Coverage A –                        As used in this exclusion, electronic data
   Bodily Injury And Property Damage Liability is                    means information, facts or programs
   replaced by the following:                                        stored as or on, created or used on, or
   2. Exclusions                                                     transmitted to or from computer software,
                                                                     including    systems      and     applications
      This insurance does not apply to:                              software, hard or floppy disks, CD-ROMs,
      p. Access Or Disclosure Of Confidential Or                     tapes, drives, cells, data processing
         Personal Information And Data-related                       devices or any other media which are used
         Liability                                                   with electronically controlled equipment.
         Damages arising out of:                           B. The following is added to Paragraph 2.
        (1) Any access to or disclosure of any                Exclusions of Section I – Coverage B –
             person's or organization's confidential or       Personal And Advertising Injury Liability:
             personal information, including patents,         2. Exclusions
             trade secrets, processing methods,                  This insurance does not apply to:
             customer lists, financial information,
             credit    card    information,     health           Access Or Disclosure Of Confidential Or
             information or any other type of                    Personal Information
             nonpublic information; or                           "Personal and advertising injury" arising out of
         (2) The loss of, loss of use of, damage to,             any access to or disclosure of any person's or
              corruption of, inability to access, or             organization's     confidential   or    personal
              inability to manipulate electronic data.           information, including patents, trade secrets,
                                                                 processing methods, customer lists, financial
          This exclusion applies even if damages are             information, credit card information, health
          claimed for notification costs, credit                 information or any other type of nonpublic
          monitoring expenses, forensic expenses,                information.
          public relations expenses or any other loss,
          cost or expense incurred by you or others              This exclusion applies even if damages are
          arising out of that which is described in              claimed for notification costs, credit monitoring
          Paragraph (1) or (2) above.                            expenses, forensic expenses, public relations
                                                                 expenses or any other loss, cost or expense
          However, unless Paragraph (1) above                    incurred by you or others arising out of any
          applies, this exclusion does not apply to              access to or disclosure of any person's or
          damages because of "bodily injury".                    organization's     confidential   or    personal
                                                                 information.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 32 05 09

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 COMMUNICABLE DISEASE EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.        B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I – Coverage A – Bodily              Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
   2. Exclusions                                              2. Exclusions
      This insurance does not apply to:                          This insurance does not apply to:
      Communicable Disease                                       Communicable Disease
      "Bodily injury" or "property damage" arising out           "Personal and advertising injury" arising out of
      of the actual or alleged transmission of a com-            the actual or alleged transmission of a commu-
      municable disease.                                         nicable disease.
      This exclusion applies even if the claims                  This exclusion applies even if the claims
      against any insured allege negligence or other             against any insured allege negligence or other
      wrongdoing in the:                                         wrongdoing in the:
      a. Supervising, hiring, employing, training or             a. Supervising, hiring, employing, training or
          monitoring of others that may be infected                 monitoring of others that may be infected
          with and spread a communicable disease;                   with and spread a communicable disease;
      b. Testing for a communicable disease;                     b. Testing for a communicable disease;
      c. Failure to prevent the spread of the dis-               c. Failure to prevent the spread of the dis-
         ease; or                                                   ease; or
      d. Failure to report the disease to authorities.           d. Failure to report the disease to authorities.




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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 21 47 12 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,     B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily            Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                    sonal And Advertising Injury Liability:
   This insurance does not apply to:                        This insurance does not apply to:
   "Bodily injury" to:                                      "Personal and advertising injury" to:
  (1) A person arising out of any:                         (1) A person arising out of any:
      (a) Refusal to employ that person;                      (a) Refusal to employ that person;
      (b) Termination of that person's employment;            (b) Termination of that person's employment;
          or                                                       or
     (c) Employment-related practices, policies,               (c) Employment-related practices, policies,
          acts or omissions, such as coercion, demo-                acts or omissions, such as coercion, demo-
          tion, evaluation, reassignment, discipline,               tion, evaluation, reassignment, discipline,
          defamation, harassment, humiliation, dis-                 defamation, harassment, humiliation, dis-
          crimination or malicious prosecution di-                  crimination or malicious prosecution di-
          rected at that person; or                                 rected at that person; or
  (2) The spouse, child, parent, brother or sister of       (2) The spouse, child, parent, brother or sister of
      that person as a consequence of "bodily injury"           that person as a consequence of "personal and
      to that person at whom any of the employment-             advertising injury" to that person at whom any
      related practices described in Paragraphs (a),            of the employment-related practices described
      (b), or (c) above is directed.                            in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                   This exclusion applies:
  (1) Whether the injury-causing event described in         (1) Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before            Paragraphs (a), (b) or (c) above occurs before
      employment, during employment or after em-                employment, during employment or after em-
      ployment of that person;                                  ployment of that person;
  (2) Whether the insured may be liable as an em-           (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                      ployer or in any other capacity; and
  (3) To any obligation to share damages with or            (3) To any obligation to share damages with or
      repay someone else who must pay damages                   repay someone else who must pay damages
      because of the injury.                                    because of the injury.




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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 21 49 09 99

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         TOTAL POLLUTION EXCLUSION ENDORSEMENT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

Exclusion f. under Paragraph 2., Exclusions of                (2) Any loss, cost or expense arising out of any:
Section I – Coverage A – Bodily Injury And Prop-                 (a) Request, demand, order or statutory or
erty Damage Liability is replaced by the following:                  regulatory requirement that any insured or
This insurance does not apply to:                                    others test for, monitor, clean up, remove,
 f. Pollution                                                        contain, treat, detoxify or neutralize, or in
                                                                     any way respond to, or assess the effects
   (1) "Bodily injury" or "property damage" which                    of "pollutants"; or
       would not have occurred in whole or part but
       for the actual, alleged or threatened discharge,          (b) Claim or suit by or on behalf of a govern-
       dispersal, seepage, migration, release or es-                 mental authority for damages because of
       cape of "pollutants" at any time.                             testing for, monitoring, cleaning up, remov-
                                                                     ing, containing, treating, detoxifying or
                                                                     neutralizing, or in any way responding to, or
                                                                     assessing the effects of, "pollutants".




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POLICY NUMBER: NXTDYLYD4V-01-GL                                         COMMERCIAL GENERAL LIABILITY
                                                                                       CG 21 53 01 96

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     EXCLUSION – DESIGNATED ONGOING OPERATIONS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                 SCHEDULE

Description of Designated Ongoing Operation(s):



SEE ATTACHED SCHEDULE



Specified Location (If Applicable):




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
The following exclusion is added to paragraph 2.,         Unless a "location" is specified in the Schedule, this
Exclusions of COVERAGE A – BODILY INJURY                  exclusion applies regardless of where such opera-
AND PROPERTY DAMAGE LIABILITY (Section I –                tions are conducted by you or on your behalf. If a
Coverages):                                               specific "location" is designated in the Schedule of
This insurance does not apply to "bodily injury" or       this endorsement, this exclusion applies only to the
"property damage" arising out of the ongoing opera-       described ongoing operations conducted at that
tions described in the Schedule of this endorsement,      "location".
regardless of whether such operations are conducted       For the purpose of this endorsement, "location"
by you or on your behalf or whether the operations        means premises involving the same or connecting
are conducted for yourself or for others.                 lots, or premises whose connection is interrupted only
                                                          by a street, roadway, waterway or right-of-way of a
                                                          railroad.




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POLICY NUMBER: NXTDYLYD4V-01-GL                                                COMMERCIAL GENERAL LIABILITY


   SCHEDULE OF EXCLUSIONS - DESCRIPTION OF DESIGNATED ONGOING OPERATIONS



  Appliance installation, maintenance or repair, unless incidental to a project or operation for which this policy
  provides coverage
  Abatement or remediation of asbestos, mold or other hazardous materials
  Repair or remediation of fire, water, mold or termite damage as a general contractor
  Manufacturing and/or sales to the general public of items (appliances, fixtures, supplies, millwork, cabinets, doors
  or windows) other than in connection with your installation, service, repair or other activities
  New homes in tracts or subdivisions of more than 10 homes (including all phases) prior to attaining a certificate of
  occupancy
  Work on new mobile home parks containing more than 10 spaces (including all phases)
  Apartment conversions to, or construction work involving, condominiums, town homes or time shares
  Work on railroads, gas stations, refineries, chemical plants, airports, public utilities, hospitals, nursing homes,
  senior housing, military housing or student dormitories
  Work that you perform under a Wrap-Up program or any operations you perform at a location at which you are
  covered under a Wrap-Up program
  Exterior work more than 6 feet below ground or 30 feet (3 stories) above ground
  Hot application roofing
  Man hole work
  Right-of-Way clearing (removing vegetation) in proximity of power lines or pipelines
  Stand alone roofing (other than roof decking and plywood installation work done as part of new construction,
  add-ons or remodels)
  Torch down roofing
  Welding activities not performed as part of plumbing or HVAC work
  Work on pools, pool systems, pool lips, saunas, jacuzzis, ponds, or child-proof pool fences.




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POLICY NUMBER: NXTDYLYD4V-01-GL                                           COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 54 12 19

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 EXCLUSION – DESIGNATED OPERATIONS COVERED BY
  A CONTROLLED (WRAP-UP) INSURANCE PROGRAM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

Description And Location(s) Of Operation(s):
1. ALL OPERATIONS AT LOCATIONS AT WHICH THE
INSURED WAS AT ANY TIME COVERED UNDER A
WRAP-UP PROGRAM; AND
2. OPERATIONS AT ANY LOCATION OR PROJECT FOR OR
RELATED
TO THE INSURED'S WORK THAT IS SUBJECT TO A WRAP-UP
PROGRAM.




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following exclusion is added to Paragraph 2.               b. Has limits adequate to cover all claims; or
   Exclusions of Section I – Coverage A – Bodily                  c. Remains in effect.
   Injury And Property Damage Liability:
                                                           B. The following definition is added to the Definitions
   This insurance does not apply to "bodily injury" or        section:
   "property damage":
                                                              "Controlled (wrap-up) insurance program" means
   1. Arising out of your ongoing operations; or              a centralized insurance program under which one
   2. Included in the "products-completed operations          party has secured either insurance or self-
       hazard";                                               insurance covering some or all of the contractors
   at the location(s) described in the Schedule of this       or subcontractors performing work on one or more
   endorsement, but only if you are enrolled in a             specific project(s).
   "controlled (wrap-up) insurance program" with
   respect to the "bodily injury" or "property damage"
   described in Paragraphs A.1. and A.2. above at
   such location(s).
   This exclusion applies whether or not the
   "controlled (wrap-up) insurance program":
       a. Provides coverage identical to that provided
           by this Coverage Part;




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 67 12 04

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.        B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I – Coverage A – Bodily              Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
   2. Exclusions                                              2. Exclusions
      This insurance does not apply to:                           This insurance does not apply to:
      Fungi Or Bacteria                                           Fungi Or Bacteria
      a. "Bodily injury" or "property damage" which               a. "Personal and advertising injury" which
         would not have occurred, in whole or in part,               would not have taken place, in whole or in
         but for the actual, alleged or threatened in-               part, but for the actual, alleged or threat-
         halation of, ingestion of, contact with, expo-              ened inhalation of, ingestion of, contact
         sure to, existence of, or presence of, any                  with, exposure to, existence of, or presence
         "fungi" or bacteria on or within a building or              of any "fungi" or bacteria on or within a
         structure, including its contents, regardless               building or structure, including its contents,
         of whether any other cause, event, material                 regardless of whether any other cause,
         or product contributed concurrently or in any               event, material or product contributed con-
         sequence to such injury or damage.                          currently or in any sequence to such injury.
      b. Any loss, cost or expenses arising out of the            b. Any loss, cost or expense arising out of the
         abating, testing for, monitoring, cleaning up,              abating, testing for, monitoring, cleaning up,
         removing, containing, treating, detoxifying,                removing, containing, treating, detoxifying,
         neutralizing, remediating or disposing of, or               neutralizing, remediating or disposing of, or
         in any way responding to, or assessing the                  in any way responding to, or assessing the
         effects of, "fungi" or bacteria, by any insured             effects of, "fungi" or bacteria, by any insured
         or by any other person or entity.                           or by any other person or entity.
      This exclusion does not apply to any "fungi" or      C. The following definition is added to the Definitions
      bacteria that are, are on, or are contained in, a       Section:
      good or product intended for bodily consump-            "Fungi" means any type or form of fungus, includ-
      tion.                                                   ing mold or mildew and any mycotoxins, spores,
                                                              scents or byproducts produced or released by
                                                              fungi.




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 21 73 01 15

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                                b. The act is a violent act or an act that is
   This insurance does not apply to:                                    dangerous to human life, property or
                                                                        infrastructure and is committed by an
   TERRORISM                                                            individual or individuals as part of an effort
   "Any injury or damage" arising, directly or                          to coerce the civilian population of the
   indirectly, out of a "certified act of terrorism".                   United States or to influence the policy or
B. The following definitions are added:                                 affect the conduct of the United States
                                                                        Government by coercion.
   1. For the purposes of this endorsement, "any
       injury or damage" means any injury or damage          C. The terms and limitations of any terrorism
       covered under any Coverage Part to which this            exclusion, or the inapplicability or omission of a
       endorsement is applicable, and includes but is           terrorism exclusion, do not serve to create
       not limited to "bodily injury", "property                coverage for injury or damage that is otherwise
       damage", "personal and advertising injury",              excluded under this Coverage Part.
       "injury" or "environmental damage" as may be
       defined in any applicable Coverage Part.
   2. "Certified act of terrorism" means an act that is
      certified by the Secretary of the Treasury, in
      accordance with the provisions of the federal
      Terrorism Risk Insurance Act, to be an act of
      terrorism pursuant to such Act. The criteria
      contained in the Terrorism Risk Insurance Act
      for a "certified act of terrorism" include the
      following:
      a. The act resulted in insured losses in excess
          of $5 million in the aggregate, attributable to
          all types of insurance subject to the
          Terrorism Risk Insurance Act; and




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 86 12 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   EXCLUSION – EXTERIOR INSULATION
                         AND FINISH SYSTEMS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. This insurance does not apply to "bodily injury",         B. The following definition is added to the Definitions
   "property damage" or "personal and advertising in-           Section:
   jury" arising out of, caused by, or attributable to,         "Exterior insulation and finish system" means a
   whether in whole or in part, the following:                  non-load bearing exterior cladding or finish sys-
   1. The design, manufacture, construction, fabrica-           tem, and all component parts therein, used on any
      tion, preparation, distribution and sale, installa-       part of any structure, and consisting of:
      tion, application, maintenance or repair, includ-          1. A rigid or semi-rigid insulation board made of
      ing remodeling, service, correction or                        expanded polystyrene and other materials;
      replacement, of any "exterior insulation and fin-
      ish system" or any part thereof, or any substan-           2. The adhesive and/or mechanical fasteners
      tially similar system or any part thereof, includ-            used to attach the insulation board to the sub-
      ing the application or use of conditioners,                   strate;
      primers, accessories, flashings, coatings,                 3. A reinforced or unreinforced base coat;
      caulking or sealants in connection with such a             4. A finish coat providing surface texture to which
      system; or                                                    color may be added; and
   2. "Your product" or "your work" with respect to              5. Any flashing, caulking or sealant used with the
      any exterior component, fixture or feature of                 system for any purpose.
      any structure if an "exterior insulation and finish
      system", or any substantially similar system, is
      used on the part of that structure containing
      that component, fixture or feature.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 96 03 05

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          SILICA OR SILICA-RELATED DUST EXCLUSION

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART



A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily                Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                        sonal And Advertising Injury Liability:
   2. Exclusions                                                 2. Exclusions
      This insurance does not apply to:                             This insurance does not apply to:
      Silica Or Silica-Related Dust                                 Silica Or Silica-Related Dust
      a. "Bodily injury" arising, in whole or in part, out          a. "Personal and advertising injury" arising, in
         of the actual, alleged, threatened or sus-                    whole or in part, out of the actual, alleged,
         pected inhalation of, or ingestion of, "silica"               threatened or suspected inhalation of, in-
         or "silica-related dust".                                     gestion of, contact with, exposure to, exis-
      b. "Property damage" arising, in whole or in                     tence of, or presence of, "silica" or "silica-
         part, out of the actual, alleged, threatened                  related dust".
         or suspected contact with, exposure to, ex-                b. Any loss, cost or expense arising, in whole
         istence of, or presence of, "silica" or "silica-              or in part, out of the abating, testing for,
         related dust".                                                monitoring, cleaning up, removing, contain-
      c. Any loss, cost or expense arising, in whole                   ing, treating, detoxifying, neutralizing, reme-
         or in part, out of the abating, testing for,                  diating or disposing of, or in any way re-
         monitoring, cleaning up, removing, contain-                   sponding to or assessing the effects of,
         ing, treating, detoxifying, neutralizing, reme-               "silica" or "silica-related dust", by any in-
         diating or disposing of, or in any way re-                    sured or by any other person or entity.
         sponding to or assessing the effects of,            C. The following definitions are added to the Defini-
         "silica" or "silica-related dust", by any in-          tions Section:
         sured or by any other person or entity.                 1. "Silica" means silicon dioxide (occurring in
                                                                    crystalline, amorphous and impure forms), sil-
                                                                    ica particles, silica dust or silica compounds.
                                                                 2. "Silica-related dust" means a mixture or combi-
                                                                    nation of silica and other dust or particles.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 22 43 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             EXCLUSION – ENGINEERS, ARCHITECTS OR
               SURVEYORS PROFESSIONAL LIABILITY
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following exclusion is added to Paragraph 2.            2. Supervisory,     inspection,    architectural   or
Exclusions of Section I – Coverage A – Bodily                  engineering activities.
Injury And Property Damage Liability and                    This exclusion applies even if the claims against any
Paragraph 2. Exclusions of Section I – Coverage             insured allege negligence or other wrongdoing in the
B – Personal And Advertising Injury Liability:              supervision, hiring, employment, training or
This insurance does not apply to "bodily injury",           monitoring of others by that insured, if the
"property damage" or "personal and advertising              "occurrence" which caused the "bodily injury" or
injury" arising out of the rendering of or failure to       "property damage", or the offense which caused the
render any professional services by you or any              "personal and advertising injury", involved the
engineer, architect or surveyor who is either               rendering of or failure to render any professional
employed by you or performing work on your behalf           services by you or any engineer, architect or
in such capacity.                                           surveyor who is either employed by you or
Professional services include:                              performing work on your behalf in such capacity.
1. The preparing, approving, or failing to prepare or
    approve, maps, shop drawings, opinions, reports,
    surveys, field orders, change orders or drawings
    and specifications; and




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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 22 94 10 01

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION – DAMAGE TO WORK PERFORMED BY
          SUBCONTRACTORS ON YOUR BEHALF
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


Exclusion l. of Section I – Coverage A – Bodily Injury And Property Damage Liability is replaced by the fol-
lowing:
2. Exclusions
   This insurance does not apply to:
    l. Damage To Your Work
      "Property damage" to "your work" arising out of it or any part of it and included in the "products-completed
      operations hazard".




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                                                                             COMMERCIAL GENERAL LIABILITY


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                             EXCLUSION – INJURY TO WORKER

  This endorsement modifies insurance provided under the following:
      COMMERCIAL GENERAL LIABILITY COVERAGE FORM

  A. Exclusion 2.e. Employer’s Liability under Section I – Coverage A – Bodily Injury And Property
     Damage Liability is replaced by the following:
     This insurance does not apply to:
     e. Employer's Liability
          “Bodily injury” to:
         (1) An “employee” of the insured arising out of and in the course of:
               (a) Employment by the insured; or
               (b) Performing duties related to the conduct of the insured's business; or
         (2) The spouse, child, parent, brother or sister of that “employee” as a consequence of Paragraph
               (1) above.
        This exclusion applies whether the insured may be liable as an employer or in any other capacity and
        to any obligation to share damages with or repay someone else who must pay damages because of
        the injury.
  B. The following is added to Paragraph 2. Exclusions of Section I – Coverage A – Bodily Injury And
     Property Damage Liability:
     Injury to Worker
     (1) Damages because of “bodily injury” to:
          (a) An “employee”, “leased worker”, “temporary worker” or “volunteer worker” of any insured;
          (b) Any contractor, subcontractor, sub-subcontractor or anyone hired or retained by or for any
               insured; or
          (c) Any employee or anyone directly or indirectly employed by such contractor, subcontractor or sub-
               subcontractor or anyone for whose acts such contractor, subcontractor or sub- subcontractor may
               be liability;
          if such “bodily injury” arises out of and in the course of any insured’s employment or retention of any
          person listed in (a), (b) or (c), regardless of whether or not it is caused in whole or in part by any
          insured; or
     (2) Any obligation of any insured to defend, indemnify or contribute with another because of “bodily injury”
          to:
         (a) An “employee”, “leased worker”, “temporary worker” or “volunteer worker” of any insured;
         (b) Any contractor, subcontractor, sub-subcontractor or anyone hired or retained by or for any
               insured; or
         (c) An employee of any contractor, subcontractor or sub-subcontractor; or
     (3) Damages because of “bodily injury” to the spouse, child, parent, brother or sister of:
          (a) An “employee”, “leased worker”, “temporary worker” or “volunteer worker” of any insured;
          (b) Any contractor, subcontractor, sub-subcontractor or anyone hired or retained by or for any
               insured; or
          (c) An employee of any contractor, subcontractor or sub-subcontractor
          as a consequence of Paragraphs (1) or (2) above.
     This exclusion applies to all claims and “suits” by any person or organization for damages, indemnity
     and/or any obligation to share damages with or repay someone else who must pay damages because of
     the injury.
  C. The following is added to Paragraph 2. Exclusions of Section I – Coverage B – Personal And
     Advertising Injury Liability:
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                                                                            COMMERCIAL GENERAL LIABILITY

     This insurance does not apply to:
     Injury To Worker
     (1) “Personal and advertising injury” to:
          (a) An “employee”, “leased worker”, “temporary worker” or “volunteer worker” of any insured;
          (b) Any contractor, subcontractor, sub-subcontractor or anyone hired or retained by or for any
               insured; or
          (c) Any employee or anyone directly or indirectly employed by such contractor, subcontractor or sub-
               subcontractor or anyone for whose acts such contractor, subcontractor or sub- subcontractor may
               be liability;
          if such “personal and advertising injury” arises out of and in the course of any insured’s employment
          or retention of any person listed in (a), (b) or (c), regardless of whether or not it is caused in whole or
          in part by any insured; or
     (2) Any obligation of any insured to defend, indemnify or contribute with another because of “personal
          and advertising injury” to:
          (a) An “employee”, “leased worker”, “temporary worker” or “volunteer worker” of any insured;
          (b) Any contractor, subcontractor, sub-subcontractor or anyone hired or retained by or for any
               insured; or
          (c) An employee of any contractor, subcontractor or sub-subcontractor; or
     (3) Damages because of “personal and advertising injury” to the spouse, child, parent, brother or sister
          of:
          (a) An “employee”, “leased worker”, “temporary worker” or “volunteer worker” of any insured;
          (b) Any contractor, subcontractor, sub-subcontractor or anyone hired or retained by or for any
               insured; or
          (c) An employee of any contractor, subcontractor or sub-subcontractor
          as a consequence of Paragraphs (1) or (2) above.
     This exclusion applies to all claims and “suits” by any person or organization for damages, indemnity
     and/or any obligation to share damages with or repay someone else who must pay damages because of
     the injury.




     ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                                                                              COMMERCIAL GENERAL LIABILITY

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                 EXCLUSION FOR INJURY TO VOLUNTEER WORKERS
     This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE PART

     The following is added to SECTION I - COVERAGES, COVERAGE A - BODILY INJURY AND
     PROPERTY DAMAGE, Paragraph 2. Exclusions:
     Injury to Volunteer Workers
     "Bodily injury" to:
         (1) A “volunteer worker" of any insured arising out of and in the course of:
              (a) Donating work to any insured; or
              (b) Performing duties related to the conduct of an insured's business; or
         (2) The spouse, child, parent, brother or sister of that "volunteer worker" as a consequence of
             paragraph (1) above.
         This exclusion applies:
         (1) Regardless of in what capacity an insured may be liable; and
         (2) To any obligation to share damages with or repay someone else who must pay damages
              because of the injury.

    All other terms and conditions of the Policy remain unchanged.




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                                                                             COMMERCIAL GENERAL LIABILITY


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      TOTAL PROFESSIONAL SERVICES EXCLUSION
    This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE PART

    This insurance does not apply to damages, loss, cost or expense arising out of the rendering of or failure
    to render any professional service, advice or instruction. This exclusion applies:
    (1) Whether such service, advice or instruction is ordinary and customary to any insured’s profession; and
    (2) Regardless of whether a claim or suit is brought by any client or any other person or organization.


    All other terms and conditions of the policy remain unchanged.




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                                                                                   COMMERCIAL GENERAL LIABILITY


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               EXCLUSION – EARTH MOVEMENT
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following is added to SECTION I - COVERAGES, Coverage A Bodily Injury and Property
   Damages Liability, paragraph 2. Exclusions and to SECTION I – COVERAGES, COVERAGE B -
   PERSONAL AND ADVERTISING INJURY LIABILITY, paragraph 2. Exclusions

   2. Exclusions

   This insurance does not apply to:

   “Bodily injury”, “property damage” or “personal and advertising injury” which was directly or indirectly,
   based upon or contributed to in whole or in part, arising out of, resulting from, or in any matter related to
   “earth movement” whether or not any such “earth movement” is combined with any other causes.

B. The following definition is added to the DEFINITIONS Section:

   “Earth Movement” means earthquake, land- slide, subsidence, mud flow, sinkhole, erosion, or the sinking,
   rising, shifting, expanding, vibrating or contracting of earth or soil, or any other movement of land, soil or
   earth.


   All other terms and conditions of the policy remain the same.




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          EXCLUSION – PRIOR COMPLETED AND ABANDONED WORK
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following is added to SECTION I – COVERAGES, COVERAGE A – BODILY INJURY
    AND PROPERTY DAMAGE LIABILITY, 2. Exclusions:.

    This insurance does not apply to:

    1. “Bodily injury” or “property damage” arising out of “your work” completed or “abandoned’ prior to
    the earliest inception of continuous coverage with us.

B. Paragraph 16.a.(2) of SECTION V – DEFINITIONS is deleted in its entirety and replaced by the following:

    (2) Work that has not yet been completed or abandoned. However, "your work" will be deemed
    completed at the earliest of the following times:

     (a) When all of the work called for in your contract has been completed.

     (b) When all of the work to be done at the job site has been completed if your contract calls for work
     at more than one job site.

     (c) When that part of the work done at a job site has been put to its intended use by any person
     or organization.

     Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
     complete, will be treated as completed.

 C. The following is added to SECTION V – DEFINITIONS:

     “Abandoned” means a project on which you have stopped work or upon which you have not provided
     labor, materials or services for 60 days.



     All other terms and conditions of the policy remain unchanged.




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   EXCLUSION – CONTINUOUS OR PROGRESSIVE INJURY AND DAMAGE
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

SECTION I - COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY, section 1.
Insuring Agreement, paragraph b.(3), paragraph c., and paragraph d., (1), (2), (3) are replaced by the
following:

c. This insurance does not apply to any damages because of or related to “bodily injury”, “property
damage”, or “personal and advertising injury”:

(1)   which first existed, or alleged to have first existed, prior to the inception of continuous coverage written
      with us; or

(2)   which are,or are alleged to be,in the process of taking place prior to the inception of continuous
      coverage written with us, even if the actual or alleged “bodily injury”, “property damage”, or “personal
      and advertising injury” continues during this policy period; or

 (3) which were caused, or are alleged to have been caused, by the same condition which resulted in
     “bodily injury”, “property damage”, or “personal and advertising injury” which first existed prior to the
     inception of continuous coverage written with us.

We shall have no duty to defend any insured against any loss, claim, “suit”, or other proceeding alleging
damages arising out of or related to “bodily injury”, “property damage” or “personal and advertising injury” to
which this endorsement applies.

All other terms and conditions of the policy remain unchanged.




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   EXCLUSION – CROSS SUITS
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following is added to SECTION I - COVERAGES, Coverage A Bodily Injury and Property Damages
Liability, paragraph 2. Exclusions and to SECTION I – COVERAGES, COVERAGE B -
PERSONAL AND ADVERTISING INJURY LIABILITY, paragraph 2. Exclusions

“Bodily injury”, “property damage” or “personal and advertising injury” arising from claims or “suits” brought
by any named insured against any other named insured.

All other terms and conditions of the policy remain unchanged.




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                                                                                   COMMERCIAL GENERAL LIABILITY


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                           EXCLUSION – LEAD
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following is added to SECTION I - COVERAGES, Coverage A Bodily Injury and Property Damages
Liability, paragraph 2. Exclusions and to SECTION I – COVERAGES, COVERAGE B -
PERSONAL AND ADVERTISING INJURY LIABILITY, paragraph 2. Exclusions


“Bodily injury” or “property damage” or “personal and advertising injury” arising out of the actual, alleged,
suspected or threatened ingestion of, inhalation of, contact with, exposure to, existence of, or presence of
“lead”

As used in this exclusion, “Lead” means the element in any form.



All other terms and conditions of the policy remain unchanged.




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                                                                                   COMMERCIAL GENERAL LIABILITY


              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                      EXCLUSION – ASBESTOS
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following is added to SECTION I - COVERAGES, Coverage A Bodily Injury and Property Damages
Liability, paragraph 2. Exclusions and to SECTION I – COVERAGES, COVERAGE B -
PERSONAL AND ADVERTISING INJURY LIABILITY, paragraph 2. Exclusions


“Bodily injury”, “property damage” or “personal and advertising injury” arising out of the actual, alleged,
suspected or threatened ingestion of, inhalation of, contact with, exposure to, existence of, or presence of
“asbestos”.

As used in this exclusion, “Asbestos” means the material in any form.



All other terms and conditions of the policy remain unchanged.




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                                                                                  COMMERCIAL GENERAL LIABILITY


             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               EXCLUSION – PRIOR DAMAGES
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to SECTION I – COVERAGES, Coverage A Bodily Injury and
   Property Damages Liability, paragraph 2. Exclusions and to SECTION I – COVERAGES, Coverage
   B Personal and Advertising Injury Liability, paragraph 2. Exclusions and to SECTION I –
   COVERAGES, Coverage C Medical Payment, paragraph 2. Exclusions

   This insurance does not apply to:

   Prior Damages

   “Bodily injury”, “property damage”, “personal and advertising injury” and medical payments arising out of
   any damage, defect, deficiency, inadequacy or dangerous condition which existed prior to the inception
   of the policy period shown in the Declarations of this Policy, whether visible or invisible, detected or
   undetected, known or unknown, to any Insured before such inception date. This exclusion shall apply
   whether or not the Insured’s legal obligation to pay damages in respect of such damage, defect,
   deficiency, inadequacy or dangerous condition was established before the inception date of this policy.
   This exclusion shall be applicable to all damage(s), defect(s), deficiency(ies), inadequacy(ies)
   or dangerous condition(s) including, but not limited to, damage, defect, deficiency, inadequacy,
   or dangerous condition.

   “Bodily injury”, “property damage”, “personal and advertising injury” and medical payments arising out of
   any damage, defect, deficiency, inadequacy or dangerous condition shall be deemed to have existed as
   of the earliest date by which any damage occurred, irrespective of whether the Insured was aware of
   the existence of any such damage, and irrespective of whether such damage may have been
   continuous or progressive or may have been due to repeated exposure to substantially the same
   harmful conditions or may have become progressively worse during the period of this Policy.

B. For purposes of this endorsement only, Insured shall include any Named Insured or Insured as defined
   by this Policy, their officers, directors, partners, project managers, risk managers or any person acting in
   similar capacities.




   All other terms and conditions of the policy remain unchanged.




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                                                                                       COMMERCIAL GENERAL LIABILITY

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  LIMITATION OF COVERAGE TO BUSINESS DESCRIPTION
     This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                           SCHEDULE
    Business Description:
    Contractors - Subcontracted Work - Family Dwellings
    Contractors - Subcontracted Work




     I.    SECTION I – COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
           1. Insuring Agreement, b. is amended and the following added:

           (4) The “bodily injury” or “property damage” is caused by or results from the business described in
           the Schedule.

     II.   SECTION I – COVERAGES, COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY,
           1. Insuring Agreement, b. is amended and the following added:

           This insurance applies to “personal and advertising injury” caused by an offense in the course of
           the business described in the Schedule.




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                                                                                 COMMERCIAL GENERAL LIABILITY

 III.   SECTION I COVERAGES, COVERAGE C MEDICAL PAYMENTS,
        1. Insuring Agreement a. (3) is amended and the following added:

        (d) The “bodily injury” is caused by or results from the business described in the Schedule.

        All other terms and conditions of the policy remain unchanged.




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                                                                           COMMERCIAL GENERAL LIABILITY


             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  EXCLUSION – NON-COMPENSATORY DAMAGES
    This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE PART

    SECTION I – COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
    LIABILITY, 2. Exclusions and COVERAGE B PERSONAL AND ADVERTISING INJURY
    LIABILITY, 2. Exclusions are amended and the following added:
    PUNITIVE DAMAGES
    This insurance does not apply to any claim for or awards of non-compensatory damages, including,
    but not limited to:
    1. Punitive, exemplary or multiple damages;
    2. Equitable or non-pecuniary relief; or

    3. Fines, penalties, court imposed sanctions, return or restitution of legal fees, costs or
       other expenses associated with such awards.


   All other terms and conditions of the policy remain unchanged.




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                                                                              COMMERCIAL GENERAL LIABILITY


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



         U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN ASSETS
         CONTROL (“OFAC”) - U.S. ECONOMIC AND TRADE SANCTIONS
                     LIMITATIONS CLAUSE - FLORIDA

      We shall not be deemed to provide coverage, nor shall we be liable to pay any claim or provide any
      benefit under this policy to the extent that the provision of such coverage, payment of such claim or
      provision of such benefit would expose us to any sanction, prohibition or restriction under the trade or
      economic sanctions, laws or regulations of the United States of America.

      The United States of America trade or economic sanctions, laws or regulations shall include, but not be
      limited to, those sanctions administered and enforced by the U.S. Treasury Department’s Office of
      Foreign Assets Control (OFAC).



      All other terms and conditions of the policy remain unchanged.




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                                                                               COMMERCIAL GENERAL LIABILITY


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 BLANKET ADDITIONAL INSURED
     This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE PART


     A. SECTION II - WHO IS AN INSURED is amended to include the following as insureds:
         1. Lessor of Leased Equipment
             Any person or organization from whom you lease equipment when you and such person or
             organization have agreed in writing in a contract or agreement that such person or organization be
             added as an additional insured on your policy. Such person or organization is an insured only with
             respect to their liability for “bodily injury”, “property damage” or “personal and advertising injury”
             caused, in whole or in part, by your maintenance, operation or use of equipment leased to you by
             such person or organization.
             No such person or organization is an insured under this section:
             a. Upon expiration or termination of their contract or agreement with you for such leased
                equipment ends;
             b. For any “bodily injury” or “property damage” caused by an "occurrence" which takes place after
                expiration or termination of their contract or agreement with you; or
             c. For any “personal and advertising injury” caused by an "offense" which takes place after
                expiration or termination of their contract or agreement with you.
         2. Managers or Lessors of Premises
             Any person or organization from whom you lease premises when you and such person or
             organization have agreed in writing in a contract or agreement that such person or organization be
             added as an additional insured on your policy. Such person or organization is an insured only with
             respect to liability arising out of your ownership, maintenance or use of that part of the premises
             leased to you.
             No such person or organization is an insured under this section for any:
             a. For “bodily injury” or “property damage” caused by an "occurrence" which takes place after you
                cease to be a tenant in that premises.
             b. Structural alterations, new construction or demolition operations performed by or on behalf of
                such person or organization.
         3. Grantor of Franchise
             Any person or organization (referred to below as grantor of a franchise) with whom you and such
             person or organization have agreed in writing in a contract or agreement that such person or
             organization be added as an additional insured on your policy, but only with respect to "bodily injury"
             or "property damage" arising out of " liability as grantor of a franchise to you
     B. With respect to the insurance afforded to these additional insureds, the following is added to
        SECTION III LIMITS OF INSURANCE:
         If coverage provided to the additional insured is required by a contract or agreement, the most we will
         pay on behalf of the additional insured is the amount of insurance:
         1. Required by the contract or agreement; or
         2. Available under the applicable Limits of Insurance shown in the Declarations; whichever is less.
         This endorsement shall not increase the applicable Limits of Insurance shown in the Declarations.


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     C. With respect to the provisions of this endorsement, the following is added to SECTION IV –
        COMMERCIAL GENERAL LIABILITY CONDITIONS, paragraph 4. Other Insurance:
         Regardless of whether other insurance is available to an additional insured on a primary basis, this
         insurance will be primary and noncontributory if a written contract between you and the additional
         insured specifically requires that this insurance be primary.


     All other terms and conditions of the policy remain unchanged.




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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              EXCLUSION – SEXUALLY TRANSMITTED DISEASES - FLORIDA
         This endorsement modifies insurance provided under the following:
         COMMERCIAL GENERAL LIABILITY COVERAGE PART

         The following is added to SECTION I – COVERAGES, COVERAGE A – BODILY INJURY AND
         PROPERTY DAMAGE LIABILITY, paragraph 2. Exclusions, and to SECTION I – COVERAGES,
         COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY, paragraph 2. Exclusions:
         This insurance does not apply to:
         Sexually Transmitted Disease
         Any claim, "suit", or cause of action arising from instances, "occurrences" or allegations involving sexually
         transmitted diseases.
         This exclusion applies even if the claim, “suit” or cause of action against the insured alleges negligence
         or other wrongdoing in the:
         (1) Supervising, hiring, employing, training or monitoring of others that may be infected with and spread
             a sexually transmitted disease;
         (2) Testing for a sexually transmitted disease;
         (3) Failure to prevent the spread of the sexually transmitted disease; or
         (4) Failure to report the sexually transmitted disease to the proper authorities.

         For purposes of this endorsement, sexually transmitted diseases do not include Human Immunodeficiency
         Virus (HIV), Acquired Immune Deficiency Syndrome (AIDS) or Aids Related Complex (ARC).

         All other terms and conditions of the policy remain unchanged.




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                                                                               COMMERCIAL GENERAL LIABILITY



              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                         UNINTENTIONAL ERRORS AND OMISSION
                             KNOWLEDGE OF OCCURRENCE
                               NOTICE OF OCCURRENCE
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following are added to SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS:

Unintentional Errors and Omissions
Any unintentional error or omission in the description of, or failure to completely describe, any premises or
operations intended to be covered by this Coverage Part will not invalidate or adversely affect coverage for those
premises or operations. However, you must report such error or omission to us as soon as practicable after its
discovery.


Knowledge of Occurrence
Notwithstanding any other provision(s) in this policy to the contrary, and solely as respects any loss reporting
requirements under this policy, it is understood that knowledge of “occurrence” by the agent, servant, or employee
of the insured or any other person shall not in itself constitute knowledge by the insured, unless the risk manager
or risk management department or substantially similar position or department received notice from said agent,
servant, employee or any other person.


Notice of Occurrence
Your rights under this coverage part will not be prejudiced if you fail to give us notice of an “occurrence”, offense
or claim and that failure is solely due to your reasonable belief that the “bodily injury”, “property damage” or
“personal and advertising injury” is not covered under this coverage part. However, you shall give written notice of
such “occurrence”, offense or claim to us as soon as you are aware that this insurance may apply to such
“occurrence”, offense or claim.


 All other terms and conditions of the policy remain unchanged.




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       CONTRACTOR/SUB-CONTRACTOR INSURANCE REQUIREMENTS


This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

Notwithstanding any other provision in this Coverage Part:

A. Coverage under this Coverage Part does not apply to an “occurrence” arising out of a sub-contractor’s work
   unless such sub-contractor:
   1. Is operating pursuant to a written agreement between you and the contractor or sub-contractor; and,
    2. Provided you with a valid certificate of insurance listing you as an additional insured on their commercial
       general liability insurance policy with limits equal to or exceeding the limits provided by this policy.

B. With respect to an “occurrence” arising out of a sub-contractor’s work and such sub-contractor:
   1. Is operating pursuant to a written agreement between you and the contractor or sub-contractor; and
    2. Provided you with a valid certificate of insurance listing you as an additional insured on their commercial
        general liability insurance policy with limits equal to or exceeding the limits provided by this policy.
    any insurance provided by this Coverage Part shall be excess over any insurance provided to you through or
    by the sub-contractor.

 All other terms and conditions of the policy remain unchanged.




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               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       ADDITIONAL INSURED – AUTOMATIC STATUS
     This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE PART

     SECTION II - WHO IS AN INSURED is amended to include as an additional insured any person or
     organization when you and such person or organization have agreed in writing in a contract or agreement
     that such person or organization be added as an additional insured on your policy.

     A. Such person or organization is an additional insured only with respect to liability for "bodily injury",
        "property damage" or "personal and advertising injury" caused, in whole or in part, by:
        1. Your acts or omissions; or
        2. The acts or omissions of those acting on your behalf
        with respect to:
             a. Premises you own, rent, lease, or occupy; or
             b. Your ongoing operations performed for that insured.
     B. The insurance afforded to such additional insured:
        1. Only applies to the extent permitted by law; and
        2. Will not be broader than that which you are required by the contract or agreement to provide for
           such additional insured.

     C. The Limits of Insurance applicable to the additional insured are the lesser of those specified in:
        1. The written contract or agreement; or
        2. The Declarations for this policy, whichever is less.
        Such are included in, and not in addition to, the Limits of Insurance shown in the Declarations.

     D. Regardless of whether other insurance is available to an additional insured on a primary basis, this
        insurance will be primary and noncontributory if a written contract between you and the additional
        insured specifically requires that this insurance be primary.


     All other terms and conditions of the policy remain unchanged.




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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         CONTRACTORS PROFESSIONAL LIABILITY LIMITED EXCLUSION

      This endorsement modifies insurance provided under the following:
      COMMERCIAL GENERAL LIABILITY COVERAGE PART


      The following exclusion is added to SECTION I – COVERAGES, COVERAGE A – BODILY
      INJURY AND PROPERTY DAMAGE LIABILITY, paragraph 2. Exclusions and SECTION I –
      COVERAGES, COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY, paragraph 2.
      Exclusions:
      1. This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury"
         arising out of the rendering of or failure to render any professional services by you or on your behalf,
         but only with respect to either or both of the following operations:
         a. Providing engineering, architectural or surveying services to others in your capacity as an engineer,
              architect or surveyor; and
         b. Providing, or hiring independent professionals to provide, engineering, architectural or surveying
              services in connection with construction work you perform.
          This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in
          the supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence"
          which caused the "bodily injury" or "property damage", or the offense which caused the "personal and
          advertising injury", involved the rendering of or failure to render any professional services by you or on
          your behalf with respect to the operations described above.
          Notwithstanding the foregoing, this exclusion does not apply to coverage provided under the
          CONTRACTORS ERROR AND OMISSIONS COVERAGE insuring agreement.
      2. Subject to Paragraph 3. below, professional services include:
         a. Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
             surveys, field orders, change orders, or drawings and specifications; and
         b. Supervisory or inspection activities performed as part of any related architectural or engineering
             activities.
      3. Professional services do not include services within construction means, methods, techniques,
         sequences and procedures employed by you in connection with your operations in your capacity as a
         construction contractor.


      All other terms and conditions of the policy remain unchanged.




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             CONTRACTORS ERRORS AND OMISSIONS COVERAGE

   The following is added to the COMMERCIAL GENERAL LIABILITY COVERAGE FORM as indicated below:


                                                       SCHEDULE

          Contractor Services:                         General Contractor




          Contractors Errors and Omissions                  •   Option 1: $25,000.00            Per Loss
          Coverage Limit Option:
                                                            •   Option 2:

                                                       The lesser of:

                                                                     ■    $              ; or

                                                                     ■    Whichever of the following applies to the
                                                                          Repairs:

                                                                    % of the Actual Original Cost if the Repairs are
                                                                Performed by Someone Other than You or a Person or
                                                                Organization Affiliated with You; or


                                                                    % of the Actual Original Cost if the Repairs are
                                                                Performed by You or a Person or Organization
                                                                Affiliated with You

          Contractors Errors     and   Omissions       11/19/2022 to 11/19/2023
          Coverage Period:
          Contractors Errors and Omissions             $50,000.00
          Coverage Aggregate Limit:
          Contractors   Errors   and   Omissions            ■   Per Claim             $
          Deductible:                                       ■   Per Loss              $ $0.00




A. The following is added to SECTION I:



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CONTRACTORS ERRORS AND OMISSIONS COVERAGE
1. Insuring Agreement
    We will pay those sums that the insured becomes legally obligated to pay as “loss” because of:
    a. “Property damage” to “your work”;
    b. “Property damage” to “your product”; or,
    c. “Impaired property” arising out of a defect, deficiency, inadequacy, or dangerous condition in “your product”
       or “your work”;
    to which this insurance applies. The “loss” must be caused by your “wrongful act” in rendering or failing to render
    Contractor Services shown in the SCHEDULE above to others for a fee. We will have the right and duty to defend
    the insured against any "suit" seeking those damages. However, we will have no duty to defend the insured
    against any "suit" for any “loss” to which this insurance does not apply. We may, at our discretion, investigate any
    "loss" and settle any claim or "suit" that may result. But:
        (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
        (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in the payment
            of judgments or settlements under this Contractors Errors and Omissions Coverage.
    Our obligation under the Contractors Errors and Omissions Coverage to pay damages on your behalf applies
    only to the amount of damages in excess of any deductible amounts stated in the SCHEDULE above and
    described in section E. below as applicable to such coverage.
    No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
    under section B. Supplementary Payments below.
2. This insurance applies to "loss" only if:
    a. The "loss" is caused by a “wrongful act” that takes place in the "coverage territory";
    b. The "wrongful act" occurs during the policy period; and
    c. Prior to the policy period, no insured listed under Paragraph 1. of SECTION II – WHO IS AN INSURED and
       no "employee" authorized by you to give or receive notice of a "loss" or claim, knew that the "wrongful act"
       had occurred, in whole or in part. If such a listed insured or authorized "employee" knew, prior to the policy
       period, that the "wrongful act" occurred, then any continuation, change or resumption of such "wrongful act"
       during or after the policy period will be deemed to have been known prior to the policy period.
    d. You have issued a written contract or work order prior to initiating “your work” if the “original estimated cost”
       of “your work” exceeds $500.
3. Exclusions
   a. Architectural and Engineering Professional Liability
        Any liability arising out of the rendering of or failure to render the “professional services” whether such services
        are provided to others:
       (1) By you or on your behalf; or
       (2) By independent professionals you have provided or hired to provide engineering, architectural or
           surveying services in connection with construction work you perform.
    b. Asbestos, “Pollutants”, “Fungus” and Lead
        Any liability of any nature arising out of, attributable to, or any way related to asbestos, “pollutants”, “fungus”
        or lead in any form or transmitted in any manner, including any loss, cost, or expense arising out of any:
       (1) Request, demand, or order that any insured or others test for, monitor, clean up, remove, remediate,
           contain, treat, detoxify, neutralize or in any way respond to or assess the effects of asbestos, “pollutants”,
           “fungus” or lead; or,
       (2) “Claim” or “suit” by or on behalf of any governmental authority for damages resulting from the testing for,
           monitoring, cleaning up, removing, remediating, containing, treating, detoxifying, neutralizing or in any
           way responding to or assessing the effects of asbestos, “pollutants”, “fungus” or lead.
    c. Bankruptcy


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       Any liability arising out of your insolvency or bankruptcy or the insolvency or bankruptcy of any person or entity
       for which the insured may be liable.
  d. Bodily Injury and Personal or Advertising Injury
       Any liability arising from:
     (1) “Bodily injury”; or
     (2) “Personal and advertising injury”.
  e. Bridges and Dams
       Any liability in connection with:
       (1) Bridges exceeding 150 feet in length; or
       (2) Dams.
  f.   Construction Materials and Tools
       (1) Any cost or expense for additional products or materials that would not have been incurred had the correct
           recommendations or specifications been made;
       (2) Any material or products that have been recalled, identified as not conforming to industry safety standards,
           identified as illegal, banned, outlawed, identified to be in violation of statute, or not approved for sale or
           use in the United States of America by any industry or governmental authority or agency. This exclusion
           also applies to any work related to any such material or products;
       (3) Any liability arising from a decision to substitute a material or product or to deviate from a process or
           procedure that was specified on:
           (a) Blueprints;
           (b) Work orders;
           (c) Contracts or;
           (d) Engineering specifications; or
       (4) Any materials or tools that will be used in another project
           unless there has been written authorization from us.
  g. Contractual Liability
       Any liability of others assumed by you or any other insured under any contract or agreement, whether oral or
       in writing.
  h. Criminal, Fraudulent and Intentional Acts
       Any liability arising out of the criminal, fraudulent and intentional acts by or at the direction of any insured.
  i.   Delay
       Any liability arising from a delay in or failure related to:
       (1) The completion a contract or project; or
       (2) The completion a contract or project on time.
  j.   Electronic Data
       Any liability arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to
       manipulate “electronic data”.
  k. Estimates, Financing and Legal Work
       Any liability because of an error or omission:
     (1) In the preparation of estimates of probable job costs or cost estimates being exceeded, estimates of profit
         or return on capital.
     (2) In advising or failing to advise on financing of the work or project.
     (3) In advising or failing to advise on any legal work, title checks, form of insurance or suretyship.
  l. Expected or Intended
     Any “loss” expected or intended from the standpoint of the insured.
  m. Exterior Insulation and Finish System
       Any liability arising out of the “exterior insulation and finish system”.


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                                                                                     COMMERCIAL GENERAL LIABILITY

  n. Intellectual Property
       Any liability which arises out of any:
     (1) Actual or alleged infringement of copyright or trademark or patent;
     (2) Unfair competition or piracy; or
     (3) Theft or wrongful taking of concepts or intellectual property.
  o. Manufacturer’s Warranties
       Any liability arising out of manufacturer's warranties or guarantees, whether express or implied.
  p. Non-Monetary Damages
       All “claims” alleging, arising out of, based upon, or attributable to any proceeding whether:
       (1) Civil;
       (2) Criminal; or
       (3) Administrative
       in which the relief sought is other than monetary damages, including but not limited to:
        (a) Proceedings seeking injunctive relief;
        (b) Declaratory relief;
        (c) Disgorgement;
        (d) Other equitable remedies;
        (e) Those arising out of any kind of criminal proceedings; or
        (f) Civil or criminal fines or penalties imposed by law, punitive or exemplary damage or any other type of
            non-compensatory damages, the multiplied portion of multiplied damages, taxes, any amount for
            which an insured is not financially liable, or matters which are deemed uninsurable under the law
            pursuant to which this coverage shall be construed.
  q. Other Coverage
       The coverage provided under this Errors and Omission Coverage shall not apply under any circumstances to
       the extent any “claim” hereunder is covered under a policy or endorsement or other form of coverage that
       provides Operations coverage, Products Liability coverage or Completed Operations coverage.
  r. Other Insured Enterprises
     (1) Any liability arising out of services performed by or for an insured other than the Contractor Services
         shown in the SCHEDULE above;
     (2) Any liability arising from “claims” brought against the insured by a business enterprise (or its assignees)
         which is wholly or partly owned, operated or managed by any insured, or which has directly or indirectly
         any interest in your ownership or management.
  s. Owned or Rented Property
       Any liability arising from “property damage” to property:
       (1) Owned by;
       (2) Rented to; or
       (3) Leased to
       any insured.
  t.   Products
       Any liability arising from “property damage” to products that are in your physical possession.
  u. Profit
       Any liability arising from your loss of:
     (1) Profit; or
     (2) Expected profit.
  v. Property Damage
       Any liability arising from “property damage” to property other than “your product”, “your work” or “impaired



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                                                                                          COMMERCIAL GENERAL LIABILITY

             property” arising out of a defect, deficiency, inadequacy or dangerous condition in “your product” or “your
             work”.
        w. Right of Action
             Any liability arising from “claims” or “suits” where the right of action against an insured has been relinquished
             or waived.
        x. Subcontracted Work
             Any liability, including liability for “property damage” to “your work”, “your product” or “impaired property”,
             arising out of work that was performed on your behalf by a subcontractor or any person or organization other
             than an insured.
        y. Undamaged Property
             Any liability, cost or expense arising out of “your work” or “your product” that does not constitute “property
             damage”.
        z.   Your Work Not Completed
             Any liability arising out of “your work” or “your product” before you have completed “your work”. “Your work”
             will be deemed completed at the earliest of the following times:
             (1) When all the work called for in your contract or work order has been completed;
             (2) When all the work to be done at the job site has been completed if your contract calls for work at more
                 than one job site; or
             (3) When that part of the work done at a job site has been put to its intended use by any person or organization
                 other than another contractor or subcontractor working on the same project.
             Work that may need service, maintenance, correction, partial repair or replacement, but which is otherwise
             complete, will be treated as completed.

B. SUPPLEMENTARY PAYMENTS - CONTRACTORS ERRORS AND OMISSIONS COVERAGE
    We will pay, with respect to any “claim” we investigate or settle, or any “suit” against an insured we defend until our
    limit of liability is exhausted by payment of “loss”:
   1. All expenses we incur in the defense of any “claim” or “suit” covered hereunder.
   2. The cost of bonds to release attachments, but only for bond amounts within the applicable limit of insurance. We
      do not have to furnish these bonds.
   3. All reasonable expenses incurred by any insured at our request to assist us in the investigation or defense of the
      “claim” or “suit” including actual loss of earnings up to $250 a day due to time off from work.
   4. All court costs taxed against an insured in the “suit”. However, these payments do not include attorneys' fees or
      attorneys' expenses taxed against an insured.
   5. Prejudgment interest awarded against an insured on that part of the judgment we pay. If we make an offer to pay
      the applicable limit of insurance, we will not pay any prejudgment interest based on that period of time after the
      offer.
   6. All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
      offered to pay, or deposited in court the part of the judgment that is within the applicable limit of insurance.
   These payments will not reduce the limits of insurance.

C. The following is added to SECTION II – WHO IS AN INSURED, paragraph 3.:
      a. Contractors Errors and Omissions Coverage does not apply to “wrongful acts”:
            (1) That were committed or existed before you acquired or formed the organization; or
            (2) That are committed by the newly acquired or formed organization if it is not engaged in providing the
                Contractor Services described in the SCHEDULE above.

D. SECTION III LIMITS OF INSURANCE, paragraphs 1. and 2. are replaced by the following:
   1. The Coverage Limits of Insurance shown in the Schedule above and the rules below are the most we will pay for


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       any “loss” regardless of the number of:
       a. Insureds;
       b. “Claims” made or “suits brought;
       c. Persons or organizations making “claims” or bringing “suits”; or
       d. “Wrongful acts”.
    2. The General Aggregate Limit is the most we will pay for the sum of:
        a. Medical expenses under COVERAGE C;
        b. Damages under COVERAGE A, except damages because of "bodily injury" or "property damage" included in
           the "products-completed operations hazard";
        c. Damages under COVERAGE B; and
        d. “Losses” under CONTRACTORS ERRORS AND OMISSIONS COVERAGE.

E. The following are added to SECTION III LIMITS OF INSURANCE
   1. Subject to General Aggregate Limit, the Contractors Errors and Omissions Coverage Aggregate Limit is the most
      we will pay for the sum of all “losses” under CONTRACTORS ERRORS AND OMISSIONS COVERAGE.
   2. Subject to the Contractors Errors and Omissions Coverage Aggregate Limit above, the Contractors Errors and
      Omissions Coverage Limit Option shown in the SCHEDULE above is the most we will pay as the result of any
      one “loss”.
        Any “claim” or aggregation of “claims” resulting from any one “wrongful act” or “interrelated wrongful acts” will be
        considered one “loss”.
    3. Deductible
       a. You may select a deductible amount on either a per claim or a per "occurrence" basis. Your selected
          deductible applies to the coverage option and to the basis of the deductible indicated by the placement of the
          deductible amount in the Schedule above. The deductible amount stated in the Schedule above applies as
          follows:
          (1) PER CLAIM BASIS. If the deductible amount indicated in the Schedule above is on a per claim basis,
               that deductible applies to all damages sustained by any one person because of "property damage" as the
               result of any one "loss". With respect to "property damage", person includes an organization.
            (2) PER LOSS BASIS. If the deductible amount indicated in the Schedule above is on a "per loss" basis, that
                deductible amount applies to all damages because of "property damage" as the result of any one "loss",
                regardless of the number of persons or organizations who sustain damages because of that "loss".
        b. The terms of this insurance, including those with respect to:
           (1) Our right and duty to defend the insured against any "suits" seeking those damages; and
           (2) Your duties in the event of a "loss", claim, or "suit"
            apply irrespective of the application of the deductible amount.
        c. We may pay any part or all the deductible amount to effect settlement of any claim or "suit" and, upon
           notification of the action taken, you shall promptly reimburse us for such part of the deductible amount as has
           been paid by us.


F. With respect to Contractors Errors and Omissions Coverage, SECTION IV – COMMERCIAL GENERAL
   LIABILITY CONDITIONS, paragraph 4. Other Insurance, b. Excess Insurance is replaced by the following:
       b. Excess Insurance
          (1) This insurance is excess over any of the other insurance, whether primary, excess, contingent or on any
              other basis that is effective prior to the beginning of the Contractors Errors and Omissions Coverage
              Period shown in the SCHEDULE above and applies to “property damage”.
          (2) When this insurance is excess, we will have no duty to defend an insured against any “suit” if any other
              insurer has a duty to defend such insured against that “suit”. If no other insurer defends, we will undertake
              such defense, but we will be entitled to your rights against any other insurers.
          (3) When this insurance is excess over other insurance, we will pay only our share of the amount of the loss,


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                if any, that exceeds the sum of:
                (a) The total amount that all such other insurance would pay for the loss in the absence of this insurance;
                     plus
                (b) The total of any deductible and self-insured amounts underlying all such insurance.
            (4) We will share the remaining loss, if any, with any other insurance that is not described in this Excess
                Insurance provision and was not bought specifically to apply in excess of the applicable limits of insurance
                shown in the SCHEDULE above. The method of sharing shall be as described in paragraph c. below.


G. With respect to Contractors Errors and Omissions Coverage, the following definitions replace their counterparts in
   SECTION V – DEFINITIONS:
   1. “Coverage territory” means anywhere in the world, provided the “claim” or “suit” is brought against an insured
       within the United States of America, its territories or possessions or Canada.
   2. “Impaired property” means tangible property, other than “your product” or “your work”, that cannot be used or is
       less useful because it incorporates “your product” or “your work” that is found to be defective, deficient, inadequate
       or dangerous but only if such “impaired property” can be restored to use by the repair, replacement, adjustment
       or removal of “your product” or “your work”.
        “Impaired property” does not include property that is impaired due to:
       a. You or anyone acting on your behalf knowingly failing to fulfill the terms of a contract or agreement; or
       b. The result of sudden and accidental physical injury to “your product” or “your work”.
    3. “Your product”
       a. Means:
          (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of
               by:
               (a) You;
               (b) Others trading under your name; or
               (c) A person or organization whose business or assets you have acquired; and
          (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods
               or products; but
       b. Does not include:
          (1) Vending machines or other property rented to or located for the use of others but not sold; or
          (2) Either:
               (a) Warranties or representations made at any time with respect to the fitness, quality, durability,
                   performance or use of "your product"; or
               (b) The providing of or failure to provide warnings or instructions.
    4. “Your work” means:
       a. Means:
          (1) Work or operations performed by you or on your behalf; and
          (2) Materials, parts or equipment furnished in connection with such work or operations; but
       b. Does not include:
          (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
              performance or use of "your product"; or
          (2) The providing of or failure to provide warnings or instructions.
H. With respect to Contractors Errors and Omissions Coverage, the following definitions are added to SECTION V –
   DEFINITIONS.
   1. “Actual original cost” means the original amount paid to the insured for the work completed. In the event that the
       customer does not pay any amount to the insured for the work done, “actual original cost” means the total cost
       that the insured has quoted to the customer for the completion of “your work”.
       The “actual original cost” includes any materials that are included in the amount paid to or quoted by the insured
       for the job.
   2. “Claim” means a written demand or “suit” which seeks monetary damages for:



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   a. “Property damage” to “your product”;
   b. “Property damage” to “your work”; or
   c. “Property damage” to “impaired property” arising out of a defect, deficiency, inadequacy or dangerous
       condition in “your product” or “your work”.
3. “Electronic data” means information, facts or programs:
   a. Stored as or on;
   b. Created or used on; or
   c. Transmitted to or from;
    computer software, including systems and applications software, hard or floppy disks, CD-ROMS, tapes, drives,
    cells, data processing devices or any other media which are used with electronically controlled equipment.
4. “Exterior insulation and finishing system” means a type of building exterior wall cladding system that provides
   exterior walls with an insulated finished surface and waterproofing in an integrated composite material system.
5. “Fungus” means any type or form of fungus, including mold or mildew, and any mycotoxins, spores, scents or by-
   products produced or released by fungi.
6. “Interrelated wrongful acts” means all “wrongful acts” related to all jobs or projects for a single customer at a single
   location or premises that contributed to a covered “claim”.
7. “Loss(es)” means monetary amounts to which this insurance applies and which you are legally obligated to pay
   for judgments and settlements.
    However, “loss” shall not include:
    a. Civil or criminal fines or penalties imposed by law;
    b. Any amounts for which you are not financially liable or for which there is no legal recourse against you;
    c. The costs and expenses of complying with any injunctive or other form of equitable relief; or
    d. Matters which may be deemed uninsurable under the law.
8. “Original estimated cost” means the total cost that you have quoted to the customer for completion of “your work”.
    The “original estimated cost” includes any materials that are included in the amount paid to the insured for the
    job.
9. “Professional services” means:
    a. The preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
         field orders, change orders, or drawings and specifications; and
    b. Supervisory or inspection activities performed as part of any related architectural or engineering activities.
10. “Wrongful Act” means any actual or alleged negligent act, error or omission resulting in “property damage”, arising
    out of the performance of Contractor Services shown in the SCHEDULE above.


All other terms and conditions of the policy remain unchanged.




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                                                                               COMMERCIAL GENERAL LIABILITY


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                   FOREIGN DRYWALL CONTAMINANTS EXCLUSION

     This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY POLICY


     The following is added to SECTION I - COVERAGES, Coverage A Bodily Injury and Property
     Damages Liability, paragraph 2. Exclusions and to SECTION I – COVERAGES, COVERAGE B -
     PERSONAL AND ADVERTISING INJURY LIABILITY, paragraph 2. Exclusions

 1. “Bodily injury”, “property damage” or “personal and advertising injury” arising out of, resulting from,
    caused by, or contributed to by the discharge, dispersal, seepage, migration, release, escape, inhalation,
    ingestion, existence, or presence of one or more “foreign drywall contaminants” at any time. This
    exclusion only applies if the injury and/or damage is caused by, or is a result of, the emission of fumes,
    odors, vapors, and/or leaching of substances from building materials, drywall or drywall components.

 2. Any damages or any loss, cost or expense arising out any (i) claim or suit by or on behalf of any
    governmental authority or any other alleged responsible party, or because of (ii) request, demand, order
    or statutory or regulatory requirement that any insured or any other person or entity should be responsible
    for:

     a. Assessing the presence, absence or amount or effects of “foreign drywall contaminants”;

     b. Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
       detoxifying, neutralizing, abating, disposing of or mitigating “foreign drywall contaminants”.

 3. Any supervision, instructions, recommendations, warnings or advice given or which should have been
    given in connection with any of the subsections above; or

 4. Any obligation to share damages with or repay someone else in connection with any of the subsections
    above.

     As used in this exclusion, “Foreign drywall contaminants” are described as chemicals or compounds that
     can be in a solid, liquid or gaseous form. They can be contained in or applied to certain drywall (also
     known as gypsum board, plasterboard, sheetrock and wallboard) or drywall components. They also can
     be found or created when such drywall or drywall components come into contact with other elements.
     They allegedly or actually cause damage to property, corrode materials, emit noxious odors, cause health
     problems and/or otherwise act as a contaminant or irritant. They include but are not limited to, the
     following: butanethial, carbon disulfide, carbonyl sulfide, hydrogen sulfide, mercaptan, methylthio pyridine,
     sulfuric acid, sulfurous acid, sulfur dioxide and strontium sulfide. This includes drywall manufactured
     anywhere other than the United States of America (including its territories and possessions), Puerto Rico
     and Canada.


     All other terms and conditions of the policy remain unchanged.




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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


            CONDOMINIUM, TOWNHOME, TIMESHARE AND TRACT HOME
                              EXCLUSION

      This endorsement modifies insurance provided under the following:
      COMMERCIAL GENERAL LIABILITY COVERAGE PART

       The following is added to SECTION I - COVERAGES, COVERAGE A - BODILY INJURY AND
       PROPERTY DAMAGES LIABILITY, paragraph 2. Exclusions and to SECTION I –
       COVERAGES, COVERAGE B - PERSONAL AND ADVERTISING INJURY LIABILITY,
       paragraph 2. Exclusions


       “Bodily injury”, “property damage” or “personal and advertising injury” arising out of the construction of:
       (1) “Condominiums” or “townhom es”;
       (2) Any location which has been or becomes converted into “condominiums” or “townhom es”, regardless
           of whether:
           (a) Any insured had involvement in the conversion;
           (b) Any insured had knowledge of the conversion;
           (c) The conversion is prior to or subsequent to any insured’s work at the location.
       (3) Tim eshare developments; or
       (4) Any proj ect or location on which more than 10 houses have been built or are in any stage
           of development, planning, or construction.
       This exclusion does not apply to:
       (1) Non-structural remodeling within one unit on a premises or in a building described in paragraphs
           1, 2, or 3 above; or
       (2) Remodeling or additions to a single house in a development described in paragraph 4. above; or
       (3) Maintenance, service, or non-structural repairs to common areas of a completed and
           occupied development or project.
       As used in this exclusion, “condominiums” and “townhomes” mean a unit of residential real property
       in a multi-unit residential building or project where each unit is separately owned and titled.


       All other terms and conditions of the policy remain unchanged.




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          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                                      COMMERCIAL GENERAL LIABILITY



       EXCLUSION – ACTIVITIES OR OPERATIONS PERFORMED
                BY NON-DISCLOSED EMPLOYEE

   This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE FORM


 I.     The following is added to SECTION I – COVERAGES, COVERAGE A – BODILY INJURY AND PROPERTY
        DAMAGE LIABILITY, 2. Exclusions:
        Activities or Operations Performed by Non-Disclosed Employee
        “Bodily injury” or “property damage” arising out of any activity or operation performed or undertaken by a “non-
        disclosed employee”. This exclusion applies even if a claim against any insured alleges negligence or other
        wrongdoing in the supervision, hiring, employment, training or monitoring of such “non-disclosed employee” by
        that insured if the “occurrence which caused the “bodily injury” or “property damage” involved activities or
        operations performed or undertaken by the “non-disclosed employee”.


 II.    For the purposes of this endorsement, the following are added to SECTION V – DEFINITIONS:
        "Non-disclosed employee" means a person:
        a. Who was employed by you or working for you in return for compensation on the earlier of:
           (1) Effective date of this policy; or
           (2) The first policy in the series of uninterrupted policies of which this is a renewal; and
        b. Was not disclosed to us on the application for insurance for this policy.


   All other terms and conditions of the policy remain unchanged.




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                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                                                            COMMERCIAL GENERAL LIABILITY




               OPERATIONS INVOLVING OPEN ROOFS EXCLUSION

      This endorsement modifies insurance provided under the following:
      COMMERCIAL GENERAL LIABILITY COVERAGE FORM


     I.       The following is added to SECTION I – COVERAGES, COVERAGE A – BODILY INJURY AND PROPERTY
              DAMAGE LIABILITY, 2. Exclusions:
              Operations Involving Open Roofs
              “Property damage” arising out of any insured’s failure to:
              (1) Cover all "open roofs" if the roof is or is to be left immediately and directly unattended by an insured or an
                  “employee”, director, officer, owner or subcontractor of the insured; and
              (2) Take "adequately effective action”:
                  (a) To determine adverse weather; and
                  (b) To apply temporary waterproof covering
                  that protects the building, structure or other property from damage by rain, hail, snow, or any other form of
                  precipitation. Such protection includes, but is not limited to, appropriately reasonable measures to prevent
                  water intrusion:
                      i.   Using material which does not allow water to enter the “open roof”; and
                     ii.   Securing the covering so that “moderate winds” do not remove the covering.




    II.       For the purposes of this endorsement, the following are added to SECTION V – DEFINITIONS:
              "Adequately effective action" means conduct or action to protect the property or prevent damage:
              a. Customarily taken or used by similar contractors or subcontractors in the jurisdiction in which "your work" is
                 performed; and
              b. Customarily performed by contractors in the same field or profession as you
              under similar circumstances given known or what could have been reasonably known regarding the weather
              conditions.
             “Open roof” means any roof or adjoining section thereof where the protective covering, including, but not limited
             to shingles, flashing, tar or paper, has been removed and leaves exposed the roof, the roof shell or any adjoining
             section thereof being removed.
             “Moderate winds” means winds below 35 knots (Beaufort Windscale Force Level 8).


          All other terms and conditions of the policy remain unchanged.




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                                               POLICYHOLDER DISCLOSURE

                                    NOTICE OF TERRORISM INSURANCE COVERAGE


You are hereby notified that under the Terrorism Risk Insurance Act, as amended, you have a right to purchase insurance
coverage for losses resulting from acts of terrorism. As defined in Section 102(1) of the Act: The term “act of terrorism”
means any act or acts that are certified by the Secretary of the Treasury—in consultation with the Secretary of Homeland
Security, and the Attorney General of the United States—to be an act of terrorism; to be a violent act or an act that is
dangerous to human life, property, or infrastructure; to have resulted in damage within the United States, or outside the
United States in the case of certain air carriers or vessels or the premises of a United States mission; and to have been
committed by an individual or individuals as part of an effort to coerce the civilian population of the United States or to
influence the policy or affect the conduct of the United States Government by coercion.


YOU SHOULD KNOW THAT WHERE COVERAGE IS PROVIDED BY THIS POLICY FOR LOSSES RESULTING FROM
CERTIFIED ACTS OF TERRORISM, SUCH LOSSES MAY BE PARTIALLY REIMBURSED BY THE UNITED STATES
GOVERNMENT UNDER A FORMULA ESTABLISHED BY FEDERAL LAW. HOWEVER, YOUR POLICY MAY CONTAIN
OTHER EXCLUSIONS WHICH MIGHT AFFECT YOUR COVERAGE, SUCH AS AN EXCLUSION FOR NUCLEAR
EVENTS. UNDER THE FORMULA, THE UNITED STATES GOVERNMENT GENERALLY REIMBURSES 85% THROUGH
2015; 84% BEGINNING ON JANUARY 1, 2016; 83% BEGINNING ON JANUARY 1, 2017; 82% BEGINNING
ON JANUARY 1, 2018; 81% BEGINNING ON JANUARY 1, 2019 and 80% BEGINNING ON JANUARY 1, 2020, OF
COVERED TERRORISM LOSSES EXCEEDING THE STATUTORILY ESTABLISHED DEDUCTIBLE PAID BY THE
INSURANCE COMPANY PROVIDING THE COVERAGE. THE PREMIUM CHARGED FOR THIS COVERAGE IS
PROVIDED BELOW AND DOES NOT INCLUDE ANY CHARGES FOR THE PORTION OF LOSS THAT MAY BE
COVERED BY THE FEDERAL GOVERNMENT UNDER THE ACT.

YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT, AS AMENDED, CONTAINS A $100
BILLION CAP THAT LIMITS U.S. GOVERNMENT REIMBURSEMENT AS WELL AS INSURERS’ LIABILITY FOR LOSSES
RESULTING FROM CERTIFIED ACTS OF TERRORISM WHEN THE AMOUNT OF SUCH LOSSES IN ANY ONE
CALENDAR YEAR EXCEEDS $100 BILLION. IF THE AGGREGATE INSURED LOSSES FOR ALL INSURERS EXCEED
$100 BILLION, YOUR COVERAGE MAY BE REDUCED.



        Acceptance or Rejection of Terrorism Risk Insurance Coverage
            I hereby elect to purchase terrorism coverage for a prospective premium of $ 10.76           .
            I hereby decline to purchase terrorism coverage for certified acts of terrorism. I understand I will
        X
            have no coverage for losses resulting from certified acts of terrorism.


                                                                Next Insurance US Company
              Policyholder/Applicant’s Signature                                    Insurance Company
       maxim bohadana                                           NXTDYLYD4V-01-GL
                         Print Name                                                    Policy Number
       11/19/2022
                             Date




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                              Phone: (954) 302-8960 | www.ApprovedADR.com
                                                                               Lori Adelson, Esq. – Mediator
                                                                                      Direct: (954) 398-5462
                                                                                    Lori@ApprovedADR.com

    December 12, 2024

    VIA E-MAIL ONLY

    Counsel For Plaintiff(s)                           Counsel For Defendant(s)

    David Berenthal, Esq.                              Justin Tolley, Esq.
    dwb@berenthalaw.com                                Justin@Tolleyfirm.com
    Berenthal & Associates, P.A.                       The Tolley Firm P.A.

   Re: Piafsky v. MB Home Improvements Inc. et al SD Florida
   Case No. 24-cv-60382-LEIBOWITZ/AUGUSTIN-BIRCH

   Dear Counsel:
   Thank you for choosing me to mediate the above-referenced matter. This correspondence shall
   confirm that the mediation in connection with the above-referenced matter has been scheduled
   with APPROVED DISPUTE RESOLUTION on Wednesday, March 13, 2025, commencing at
   1:00 p.m. ET via Zoom Video Conference.
      •   For anyone who will be in attendance for the virtual mediation, that is not on the initial
          service list, please email me their name and email address at your earliest opportunity to
          ensure they are provided an invitation containing the credentials to participate via Zoom
          conferencing.
   The fees for mediation services will be invoiced at the hourly rate of $590 per hour for two party
   mediations and $625 per hour for mediations with three or more parties, which will be billed at the
   conclusion of each mediation session. There is a $175 booking fee per party per day, for in-person
   mediations.
   The mediation fee(s) will be divided equally between each party who participates in the mediation
   process, or as otherwise agreed. This hourly rate will be applied to all services rendered by Ms.
   Adelson, including coordination, pre-mediation caucuses, preparation, and conduct of the
   mediation to include travel time and costs thereof, together with post- mediation services rendered.
   Other expenses associated with the mediation may include airfare, hotel, ground transportation,
   and meals. Due to the demands of Ms. Adelson’s calendar, the minimum charge shall be no less
   than three (3) hours, and six (6) hours per full day reserved. A detailed invoice will be submitted
   to each party following the conclusion of the mediation covering all time and costs expended in
   connection with the engagement as of this invoice date. Follow-up work performed after the
   mediation session may be billed by separate invoice.



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   Notwithstanding the fact that counsel is acting as agent for a disclosed principal (i.e., the
   attorney’s client), in consideration of the mediator setting aside time to mediate this dispute
   without requiring prepayment of fees, each party’s attorney, if any, undertakes responsibility
   for timely payment of that party’s fees irrespective of the fee arrangement with their client, of
   not more than seven (7) days from the date of mediation. It is the responsibility of each attorney
   to make prior financial or escrow arrangements with their clients to pay the mediation fee and
   participation in mediation is counsel's agreement to be financially obligated to pay the
   mediation fee. This financial obligation exists regardless of whether your client has paid you
   for legal services or costs.
   Cancellations place an undue burden on the mediator. Thus, notice of cancellation or
   postponement of a scheduled mediation conference must be received two (2) full business days
   before the scheduled commencement of the mediation conference to avoid a cancellation fee.
   All cases canceled less than two (2) full business days prior to the mediation are also subject to
   such cancellation fee.
   In addition, the parties agree to pay any fees and costs related to enforcement of and/or collection
   of the mediator’s fees. In addition, the parties agree to pay any fees and costs related to
   enforcement of and/or collection of the mediator’s fees. Any pre-mediation teleconferences
   scheduled with the parties that includes the mediator, review of any pre-mediation documents, or
   post-mediation time spent with the mediator to facilitate the final resolution (including review of
   the settlement agreement) will be billed at the mediator’s hourly rate.
   Should payment not be timely made, the mediator may, at her sole discretion, stop all work on
   behalf of the participants, withdraw from the mediation, and seek court intervention for collection
   of the mediator’s fees. Interest will accrue at the rate of one percent per month on invoices
   outstanding more than thirty (30) days. I have attached a W-9 form for your accounting
   departments should they require same.
   Like most businesses, I will communicate with mediation participants primarily via unencrypted
   e- mail and via phone as well as, secondarily, by US Mail and/or overnight service (unless you
   request otherwise). From time to time, I may also use IM/text, Internet portal, FTP, WiFi, Skype,
   cloud, and other live and internet-based third-party vendors and services. There is some risk of
   disclosure and loss of mediation confidentiality in using these forms of communication because
   they do not ensure the confidentiality of their contents; no guarantee can be made regarding the
   interception of data sent via the Internet or mail carriers. You agree that, in advance, you will
   advise me in writing if the nature of any communication(s) require a higher degree of security.
   Each party should submit a mediation summary as soon as possible, or within seven (7) days prior
   to the mediation. If there are any other documents that you feel will assist me in my pre-mediation
   preparations, please provide these as well. The parties should also have a draft settlement
   agreement prepared to assist in finalizing the settlement at the mediation conference. Should the
   parties want to schedule a pre-mediation teleconference, please contact my office to schedule a
   mutually convenient time.




                                     APPROVED DISPUTE RESOLUTION
                                                                                                      MB-MAXIM000084
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   Please view this letter, and sign where indicated prior to mediation. Unless Approved Dispute
   Resolution is notified in writing of any objection to the following terms within three business
   days of your receipt of this Agreement, the terms of engagement contained herein shall be
   deemed accepted by all parties and counsel in this case.
   I look forward to assisting you and your clients in resolving this matter through the dispute
   resolution mechanism of mediation and will plan on attending the scheduled mediation unless
   continued or canceled at least two (2) business days in advance.
   Of course, should you have any questions, please do not hesitate to contact my office at your
   earliest convenience. Thank you in advance for your cooperation.
   Very truly yours,
    APPROVED DISPUTE RESOLUTION



    Lori Adelson, Esq.
    Florida Supreme Court Circuit Civil, County, and Appellate Certified Mediator
    Federal Court Certified Mediator – SDFL & MDFL
    Florida Supreme Court Qualified Arbitrator

   Confidentiality: Mediations held with or without a Court Order will be governed by Florida law
   and Florida Mediation Rules in regard to privilege, privacy, and confidentiality and will be
   conducted pursuant to §§ 44.401 – 44.406. Fla. Stat., known as the “Mediation Confidentiality
   and Privilege Act.”

   In accordance with the Americans with Disabilities Act of 1990, all persons who are disabled
   and who need special accommodations to participate in this proceeding because of that disability
   should contact the above mediator’s office no later than five (5) business days prior to the
   mediation conference.

   Agreed and Acknowledged:
    Counsel For Plaintiff(s)                                Counsel For Defendant(s)

    ______________________                                  ___________________
    David Berenthal, Esq.                                   Justin Tolley, Esq.
    dwb@berenthalaw.com                                     Justin@Tolleyfirm.com
    Berenthal & Associates, P.A.                            The Tolley Firm P.A.

    Dated: ____________                                     Dated: ____________________




                                     APPROVED DISPUTE RESOLUTION
                                                                                                      MB-MAXIM000085
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